           Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 1 of 70




                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA



JONATHAN “JAY” SOLOMON                        :
1640 Florida Avenue, NW                       :
Washington, DC 20009                          :
                                              :
                              Plaintiff       :
                                              :
      v.                                      :
                                              :
DECHERT LLP                                   :   Civil Action No. _______________
1900 K Street, NW                             :
Washington, DC 20036                          :
                                              :
and                                           :
                                              :
DAVID NEIL GERRARD                            :
Hunters Farm, Courtlands                      :
Nutley, Uckfield                              :
TN22 3LS                                      :
East Sussex, United Kingdom                   :
                                              :
and                                           :
                                              :
DAVID GRAHAM HUGHES                           :
59 Canons Drive, Edgware                      :
HA8 7RG, United Kingdom                       :
                                              :
and                                           :
                                              :
NICHOLAS DEL ROSSO                            :
1909 Maryland Ave.                            :
Charlotte, NC 28209                           :
                                              :
and                                           :
                                              :
VITAL MANAGEMENT SERVICES, INC.               :
1340 Environ Way                              :
Chapel Hill, NC 27517                         :
                                              :
and                                           :
                                              :



                                          1
            Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 2 of 70




AMIT FORLIT                               :
5-A Habarzel Street                       :
Tel Aviv, 69710-02                        :
Israel                                    :
                                          :
and                                       :
                                          :
ISRAEL INSIGHT ANALYSIS                   :
AND RESEARCH, LLC                         :
13727 SW 152 St., # 715,                  :
Miami, Florida 33177                      :
                                          :
and                                       :
                                          :
SDC-GADOT LLC                             :
W 210 89th Street, Apt 1K                 :
New York, NY 10024                        :
                                          :
and                                       :
                                          :
AMIR HANDJANI                             :
290 West Street, Apt 6A                   :
New York, NY 10013                        :
                                          :
and                                       :
                                          :
ANDREW FRANK                              :
370 Lexington Ave., Suite 2001            :
New York, NY 10017                        :
                                          :
and                                       :
                                          :
KARV COMMUNICATIONS, INC.                 :
370 Lexington Ave., Suite 2001            :
New York, NY 10017                        :
                                          :
                            Defendants.   :
__________________________________________:


                                       COMPLAINT

       1.     Plaintiff, by counsel, respectfully brings this action against Defendants Dechert

LLP, David Neil Gerrard, David Graham Hughes, Nicholas Del Rosso, Vital Management



                                              2
             Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 3 of 70




Services, Inc., Amit Forlit, Insight Analysis and Research LLC, SDC-Gadot LLC, Amir Handjani,

Andrew Frank, and KARV Communications, for the damages the Plaintiff has suffered as a result

of the Defendants’ conspiracy, racketeering, mail and wire fraud, personal injury, tortious

interference with Plaintiff’s business relationships, entitlements and resultant damages and related

torts, which includes Defendants conspiring with others, illegal hacking, kidnapping, perjury,

witness tampering, obstruction of justice, extortion, money laundering and theft of highly

confidential information, documents, and materials. .

                         JURISDICTION, VENUE, AND CHOICE OF LAW

       2.      This Court exercises subject matter jurisdiction in accordance with the provisions

of 18 U.S.C. §§ 1962, 1964(c).

       3.      Defendant Dechert LLP (“Dechert”) is a global law firm with, upon information

and belief, approximately 1000 lawyers worldwide of which approximately 600 practice out of

one or more offices in the United States. Exercise of jurisdiction over Defendant Dechert is proper

pursuant to 18 U.S.C. § 1965(b) and DC Code § 13–423(a)(3). Of the 22 offices listed on its

website, ten are located in the United States: Washington, DC, Austin, Boston, Charlotte, Chicago,

Los Angeles, New York, Philadelphia, San Francisco, and Silicon Valley. Dechert employees

nearly 100 lawyers, as well as related support staff, in its Washington DC office located at 1900

K Street NW. As the firm has acknowledged in connection with a federal court proceeding,

Dechert operates as a single firm and its offices are effectively a single entity.

       4.      Defendant David Neil Gerrard (“Mr. Gerrard”) at all times relevant hereto was the

co-head of Dechert’s White Collar Compliance and Investigations practice (“White Collar

Practice”) and in that role maintained an office in Dechert’s New York location in the United

States from which he regularly transacted business. Exercise of jurisdiction over Defendant Mr.



                                                  3
             Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 4 of 70




Gerrard is proper pursuant to 18 U.S.C. § 1965(b) and DC Code § 13–423(a)(3). Mr. Gerrard has

transacted business and engaged in conduct in the United States which gives rise in part to the

damages that Plaintiff Jay Solomon suffered in Washington DC. Dechert’s page for its White

Collar Practice touts that “Clients seek out our white collar lawyers in Washington, D.C., London,

and other global hubs for good reason . . . Our global presence enables us to represent clients both

in single and multi-jurisdictional matters – criminal cases, internal investigations, enforcement

matters – worldwide.”      Regarding internal investigations, Dechert states that “Dechert has

represented clients in all phases of internal investigations, and we have extensive experience in the

full range of matters that often parallel or derive from them. Our familiarity and frequent

interactions with regulators and enforcement agencies enhance our ability to protect our clients’

interests.” Accordingly, Mr. Gerrard as a partner of Dechert and as a leader of Dechert’s White

Collar Practice availed himself and benefited from Dechert’s global reach, particularly including

its presence in Washington D.C., and including in the context of this specific matter. Upon

information and belief, at all times relevant hereto, Mr. Gerrard as part of the acts complained of,

and in furtherance thereof, regularly communicated to and/from as well as was located in the

District of Columbia including interfering directly or indirectly with Mr. Solomon’s employment

in Washington, DC. Mr. Gerrard has transacted business and engaged in conduct in the United

States which gives rise to the damages Plaintiff Jay Solomon suffered in Washington DC. As

detailed further below, Defendant Mr. Gerrard engaged in conduct in the United States and directed

toward the United States related to the scheme and directed at the United States proceedings. For

the same reasons, Mr. Gerrard has engaged in intentional, wrongful, illegal, and/or acts the effects

of which Mr. Gerrard knew and intended would be felt in the United States and Washington, DC.

Also, as set forth more fully herein, Mr. Gerrard’s co-conspirators and agents have engaged in



                                                 4
            Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 5 of 70




intentional, wrongful, illegal, and/or acts in the United States and Washington DC. Mr. Gerrard

was aware of the effects in the United States and Washington DC of those acts. The activities of

Mr. Gerrard’s co-conspirators and agents were to the benefit of Mr. Gerrard and the enterprise,

and his co-conspirators and agents were working at the direction, under the control, at the request,

and/or on behalf of Mr. Gerrard in committing those acts.

       5.      Defendant David Graham Hughes (“Mr. Hughes”) is a lawyer and former Dechert

partner who served as a high-level deputy of Mr. Gerrard in the enterprise. Exercise of jurisdiction

over Defendant Mr. Hughes is proper pursuant to 18 U.S.C. § 1965(b) and DC Code § 13–

423(a)(3). Mr. Hughes has transacted business and engaged in conduct in the United States which

gives rise in part to the damages that Plaintiff Jay Solomon suffered in Washington DC. As detailed

further below, Defendant Mr. Hughes engaged in conduct in the United States and directed toward

the United States related to the scheme and directed at the United States proceedings. For the same

reasons, Mr. Hughes has engaged in intentional, wrongful, illegal, and/or acts the effects of which

Mr. Hughes knew and intended would be felt in the United States and Washington, DC. Also, as

set forth more fully herein, Mr. Hughes’ co-conspirators and agents have engaged in intentional,

wrongful, illegal, and/or acts in the United States and Washington DC. Mr. Hughes was aware of

the effects in the United States and Washington DC of those acts. The activities of Mr. Hughes’

co-conspirators and agents were to the benefit of Mr. Hughes and the enterprise, and his co-

conspirators and agents were working at the direction, under the control, at the request, and/or on

behalf of Mr. Hughes in committing those acts.

       6.      Defendant Amir Handjani (“Mr. Handjani”) is a U.S. citizen who lives in New

York, New York, and currently serves as a “Senior Advisor” with Defendant KARV

Communications Inc. (“KARV”). Defendant Andrew Frank (“Mr. Frank”) is a U.S. citizen who



                                                 5
            Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 6 of 70




lives in New York, New York, and is the founder and current President of Defendant KARV.

Exercise of jurisdiction over Defendants Mr. Handjani, Mr. Frank, and KARV is reasonable and

proper in this District pursuant to 18 U.S.C. § 1965(a) and DC Code § 13–423(a)(4) because Mr.

Handjani, Mr. Frank, and KARV all transacted business and engaged in conduct which give rise

to the damages that Plaintiff Jay Solomon suffered in Washington DC. Mr. Frank is the Founder

and President of KARV and Mr. Handjani is employed by KARV, which does business in

Washington, DC. KARV touts on its website that it “has a number of key relationships across the

political spectrum in Washington, DC, where we partner to deliver all aspects of lobbying and

public affairs services on a federal level.” Frank and KARV indeed provide such lobbying and

public affairs services to non-Defendant co-conspirator the Emirate of Ras Al Khaimah (“RAK”).

According to Foreign Agents Registration Act (“FARA”) filings with the US Department of

Justice in Washington, DC, KARV has served as a registered foreign agent of RAK since 2013.

Mr. Handjani worked directly with RAK in his capacity as an employee at KARV. KARV, Mr.

Frank and Mr. Handjani’s involvement in the enterprise include the receiving materials unlawfully

obtained by the enterprise through hacking and then disseminating those materials to the press,

including members of the press in Washington DC, for the purpose of attacking the credibility of

Mr. Solomon and others associated with him. According to his own website, Mr. Handjani is a

Non-Resident Fellow at the Quincy Institute for Responsible Statecraft, a Security Fellow with the

Truman National Security Project and a member of the Executive Committee of the Board of

Directors, at the Atlantic Council, all three of which are think tank organizations headquartered in

Washington, DC.

       7.      Defendant Nicholas Del Rosso (“Mr. Del Rosso”) lives and resides in Charlotte,

North Carolina, and is the owner of Defendant Vital Management Services, Inc. (“Vital”), a



                                                 6
            Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 7 of 70




company organized and based in North Carolina. Exercise of jurisdiction over Defendants. Mr.

Del Rosso and Vital is proper pursuant to 18 U.S.C. § 1965(b) and DC Code § 13–423(a)(3). Mr.

Del Rosso and Vital have transacted business and engaged in conduct in the United States which

gives rise to the damages that Plaintiff Jay Solomon suffered in Washington DC. As detailed

further below, Defendants Mr. Del Rosso and Vital engaged in conduct in the United States and

directed toward the United States related to the scheme and directed at the United States

proceedings. For the same reasons, Mr. Del Rosso and Vital have engaged in intentional, wrongful,

illegal, and/or acts the effects of which Mr. Del Rosso and Vital knew and intended would be felt

in the United States and Washington, DC. Also, as set forth more fully herein, Mr. Del Rosso and

Vital's coconspirators and agents have engaged in intentional, wrongful, illegal, and/or acts in the

United States and Washington DC. Mr. Del Rosso and Vital were aware of the effects in the United

States and Washington DC of those acts. The activities of Mr. Del Rosso and Vital’s co-

conspirators and agents were to the benefit of Mr. Del Rosso, Vital and the enterprise, and their

co-conspirators and agents were working at the direction, under the control, at the request, and/or

on behalf of Mr. Del Rosso and Vital in committing those acts.

       8.      Defendant Amit Forlit (“Mr. Forlit”) is a resident of Israel and the owner of U.S.

companies Insight Analysis and Research LLC (“Insight”) and SDC-Gadot LLC (“SDC” or “SDC-

Gadot”). Exercise of jurisdiction over Defendants Mr. Forlit, Insight, and SDC-Gadot is proper

pursuant to 18 U.S.C. § 1965(b) and DC Code § 13–423(a)(3). Mr. Forlit, Insight and SDC have

transacted business and engaged in conduct in the United States, which give rise to the damages

that Plaintiff Jay Solomon suffered in Washington DC, Defendants Mr. Forlit, Insight and SDC

engaged in conduct in the United States and directed toward the United States related to the scheme

and directed at the United States proceedings. For the same reasons, Mr. Forlit, Insight and SDC



                                                 7
               Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 8 of 70




have engaged in intentional, wrongful, illegal, and/or acts the effects of which Mr. Forlit, Insight

and SDC knew and intended would be felt in the United States and Washington, DC. Also, as set

forth more fully herein, Mr. Forlit, Insight and SDC’s coconspirators and agents have engaged in

intentional, wrongful, illegal, and/or acts in the United States and Washington DC. Mr. Forlit,

Insight and SDC were aware of the effects in the United States and Washington DC of those acts.

The activities of Mr. Forlit, Insight and SDC’s co-conspirators and agents were to the benefit of

Mr. Forlit, Insight and SDC and the enterprise, and their co-conspirators and agents were working

at the direction, under the control, at the request, and/or on behalf of Mr. Forlit, Insight and SDC

in committing those acts. The Defendants are subject to suit in the courts of the United States

pursuant to FCRP Rules 4(k)(1)(A) and 17(b)(2).

       9.       Venue lies in this Court pursuant to 28 U.S.C. § 1965, which provides, inter alia,

that any civil action or proceeding arising under 28 U.S.C. § 1964 against any person may be

instituted in the district court of the United States for any district in which such person resides, is

found, has an agent, or transacts his affairs.

       10.      Actions for receiving income, derived directly or indirectly from a pattern of

racketeering activity are unlawful under 28 U.S.C. § 1962, and any person injured in his business

by reason of under 28 U.S.C. § 1962 may sue in any appropriate U.S. district court and shall

recover threefold the damages he sustains and the costs of the suit, including reasonable attorney’s

fees under 28 U.S.C. § 1964(c). Any acts involving kidnapping and extortion which is chargeable

under State law and punishable by imprisonment for more than one year constitutes racketeering

activity under 28 U.S.C. § 1961(1)(A) and are unique causes of

       11.      actions arising out of federal racketeering statute(s) and are controlled by applicable

federal law.



                                                  8
             Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 9 of 70




                                          THE PARTIES

   A. The Plaintiff

       12.     Plaintiff Jonathan “Jay” Solomon (“Mr. Solomon”) is and, at all times relevant

hereto, a resident and domiciled in the District of Columbia. At all times relevant hereto, Mr.

Solomon was a chief foreign affairs correspondent for the Wall Street Journal (“WSJ”), based out

of the Wall Street Journal's Washington, D.C. bureau where over the span of nearly 20 years he

covered national security and U.S. foreign policy. Mr. Solomon was an award-winning world-

wide renowned reporter that investigated, wrote and/or broke many stories about United States

national security and foreign policy, with postings in East Asia, South Asia, and the Middle East,

in addition to Washington. He broke news on a money laundering scheme designed to help Iran

evade U.S. sanctions and was the first journalist to report on secret meetings in Oman between

American and Iranian officials, which were the precursor to the formal negotiations for the Joint

Comprehensive Plan of Action. The Wall Street Journal nominated him for multiple Pulitzer

Prizes during his nearly two-decade career with the paper. Notwithstanding Mr. Solomon’s stellar

career, on July 21, 2017, Mr. Solomon was fired from his job by the Wall Street Journal because

of the malicious and illegal acts of the Defendants.

       13.     Because of Mr. Solomon’s pedigree as a journalist and his relationship with key

witnesses to relevant illegal activity, he became a target of a racketeering enterprise, directed,

operated and/or participated in by Defendants, to the benefit of each in the form of fees received

under a lucrative legal services engagement with the Ras Al Khaimah Investment Authority, an

instrumentality of the Ras Al Khaimah sheikhdom of the United Arab Emirates. In performance

of their duties to and in concert with RAK, the Defendants engaged in racketeering enterprise and

other illegal activities, including serious human rights abuses, all with the goals of, inter alia, (a)



                                                  9
             Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 10 of 70




helping the Ruler of RAK entrench himself in power and eliminate the threats posed by his

adversaries, (b) expanding the scope of services that Dechert would perform and (c) ultimately

enhancing income that Defendants would receive. The Defendants, their co-conspirators and their

fellow participants in the racketeering enterprise came to view Mr. Solomon as a threat to their

illegal operations and engaged in further racketeering and other illegal activities as part of a

specific effort to, inter alia, de-platform Mr. Solomon.

       14.     Indeed, on June 21, 2017, Mr. Solomon’s employment with the Wall Street Journal

was terminated in response to the publishing as facilitated by Dechert, Mr. Gerrard and/or their

co-conspirators and fellow participants in a racketeering enterprise (“Cohorts”)—of confidential

communications between Mr. Solomon and his source Farhad Azima (“Mr. Azima”), which were

illegally obtained by the hacking of Mr. Azima’s email account—as directed and orchestrated by

the Defendants and/or their Cohorts — and which presented suggestive language creating a

wrongful appearance of alleged improper, unethical and/or fraudulent dealings between Mr.

Solomon and Mr. Azima that never occurred.

       15.     The use and dissemination of these communications, directly or indirectly —by

Defendants and/or their Cohorts— to various third parties who were not otherwise entitled to know

of Mr. Solomon’s private communications with his news source, have caused irreparable harm and

damage to Mr. Solomon.

       16.     These communications had been used by the Defendants and/or their Cohorts and

provided to Mr. Solomon’s employer, the Wall Street Journal, some months earlier but did not

result in Mr. Solomon’s immediate firing as Mr. Solomon was able to establish to the satisfaction

of his employer that he did not engage in the business or the other improper, unethical and/or

fraudulent activities suggested by the illegally obtained emails. However, once these illegally



                                                10
             Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 11 of 70




obtained emails were published by the Associated Press, the wide-spread dissemination of the

suggestive language had the foreseeable effect of wrongly impugning Mr. Solomon’s long-

standing reputation as an ethical journalist and resulted in his employer terminating Mr. Solomon’s

employment relationship.

       17.     Mr. Solomon was unaware that he had been the target of the Defendants’

racketeering enterprise and that his termination was facilitated by illegal and malicious activity of

the Defendants and/or their Cohorts. Mr. Solomon was unaware of this because the Defendants

and/or Cohorts, intentionally and fraudulently concealed their role in the hacking of Mr. Azima’s

emails by committing and conspiring with others to commit perjury, including by developing and

presenting in court a fabricated story about how the Defendants came into possession of the stolen

documents, upon all of which Mr. Solomon relied.

       18.     Although Mr. Solomon has come to discover, by way of a series of filings and other

developments in lawsuits in the United Kingdom and the United States, that Defendants played a

principal role in the hacking of Mr. Azima’s emails and using and disseminating the suggestive

emails first to Mr. Solomon’s employer and later to members of the press, he still does not know

the full nature of the Defendants’ activities and role in the conspiracy and enterprise. This hack-

and-smear operation by the Defendants and/or their Cohorts caused significant damages to Mr.

Solomon’s business and property including, but not limited to, causing him to lose his job, and

suffer serious embarrassment and damage to his reputation, thereby preventing him from securing

future employment in his chosen field of being an investigative reporter and inflicting upon him

significant economic loss. In addition, this criminal and racketeering activity effectively caused

Mr. Solomon to be blackballed by the journalistic and publishing community in Washington, New

York and elsewhere and further caused damage to his business and property by devaluing Mr.



                                                 11
             Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 12 of 70




Solomon’s existing book publishing contracts as the market value of the books he publishes are

inextricability intertwined with his employment status and reputation as a journalist.

   B. The Defendants

       19.     Defendant Dechert is a global law firm with, upon information and belief, more

than 900 lawyers worldwide of which approximately 600 practice out of one or more offices in the

United States. Of the 22 offices listed on its website, ten are located in the United States:

Washington, D.C., Austin, Boston, Charlotte, Chicago, Los Angeles, New York, Philadelphia, San

Francisco and Silicon Valley. Dechert employees nearly 100 lawyers, as well as related support

staff, in its Washington DC office located at 1900 K Street NW.

       20.     Dechert served as counsel to the Ras Al Khaimah Investment Authority

(“RAKIA”), an instrumentality of the Ras Al Khaimah sheikhdom of the United Arab Emirates

and works at the direction of Sheikh Saud bin Saqr Al Qasimi—the ruler of RAK (“Sheikh Saud”

or “Ruler”). Recently, it has come to light that allegedly illegal and unethical services were

provided to RAKIA and RAK by Dechert through current and former partners of Dechert,

including inter alia, Defendant Neil Gerrard—who for some time served on Dechert’s

Management Committee— David Hughes (“Mr. Hughes”), Caroline Black (“Ms. Black”) and

Linda Goldstein (“Ms. Goldstein”), with knowledge, consent, agency, and to the economic benefit

of Defendant Dechert.

       21.     Dechert played a central role in the enterprise’s affairs and criminal activity. To

carry out its scheme, Mr. Gerrard and the enterprise relied upon Dechert’s infrastructure, partners,

employees, financial resources, and reputation. Dechert received millions of dollars in fees as a

direct result of the enterprise’s continuing campaign of criminal conduct. Dechert and its

leadership were at least willfully blind or recklessly indifferent to Mr. Gerrard’s misconduct.



                                                12
             Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 13 of 70




Dechert ignored “red flags” regarding Mr. Gerrard beginning when it first hired him as a partner

in 2010 and turned a blind eye to increasingly clear evidence that emerged over the following

decade showing that Mr. Gerrard was involved in serious ethical violations, human rights abuses,

and criminal activity, including hacking.

       22.     Defendant Mr. Gerrard, at all times relevant hereto, is a former partner at Dechert,

and as recent as April 4, 2022 was listed on Dechert’s website as a “Retired Partner.” Mr. Gerrard

retired from Dechert at the end of 2020. Prior to his retirement, Mr. Gerrard served as Dechert’s

co-head of its White Collar Practice, which consists of over one hundred attorneys who primarily

work out of Dechert’s offices in London, New York and Washington DC. Upon information and

belief, at all times relevant hereto, Mr. Gerrard as part of the acts complained of, and in furtherance

thereof, regularly communicated to and/from as well as was located in the District of Columbia

including interfering directly or indirectly with Mr. Solomon’s employment in Washington DC.

       23.     Defendants Dechert and Mr. Gerrard through their actions, and/or the actions of

their Cohorts, which include, but are not limited to, Defendants Vital, Insight and SDC-Gadot,

and non-defendants RAKIA, RAK, BellTroX InfoTech Services (“BellTroX”) and CyberRoot

Risk Advisory (“CyberRoot”), caused and is fully liable and responsible for the injuries described

herein, including many predicate offenses under Federal RICO law within the meaning of 28

U.S.C. § 1964(c).

       24.     Defendant Mr. Hughes is a lawyer and former Dechert partner who served as a

high-level deputy of Mr. Gerrard in the enterprise. Between September 2014 and June 2017, Mr.

Hughes was a partner at Dechert, where he worked closely with Mr. Gerrard in organizing and

structuring the enterprise, coordinating and carrying out its affairs, and directing and executing its

illegal acts. After suddenly leaving Dechert in 2017 and bringing the UK proceeding with him,



                                                  13
             Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 14 of 70




Mr. Hughes joined Stewarts Law LLP as a partner, where he continued to work with Mr. Gerrard

to manage and execute the affairs of the enterprise, including its criminal cover-up campaign.

       25.     Defendant Mr. Del Rosso lives and resides in Charlotte, North Carolina, and is the

owner of Defendant Vital. Mr. Del Rosso and Vital were hired by the enterprise, acting through

Mr. Gerrard and Dechert, to conduct illegal computer hacking operations on its behalf in the U.S.

and elsewhere. Mr. Del Rosso repeatedly met with other members of the enterprise to plan and

coordinate its affairs. Mr. Del Rosso also worked with other members of the enterprise to obtain

and disseminate hacked and stolen materials to harm Mr. Solomon and others; and to manipulate

U.S. law enforcement in an effort to silence Mr. Solomon and distract from and conceal the

enterprise’s criminal conduct.

       26.     Defendant Vital is a company organized under the laws of North Carolina and

located at 1340 Environ Way, Chapel Hill, North Carolina, 27517. Vital purports to provide

legitimate private investigative services but was, in fact, used by Mr. Del Rosso to participate in

the enterprise’s criminal conduct, including the receipt and transfer of funds into and from the U.S.

to pay for and promote the enterprise’s illegal hacking and smear operations and obstruction-of-

justice campaign.

       27.     Defendant Mr. Forlit is a resident of Israel and the owner Insight and SDC-Gadot.

Acting at the direction of Mr. Gerrard and other members of the enterprise, Mr. Forlit orchestrated

the hacking and theft of private emails, and then assisted the enterprise in covering up such conduct

through the obstruction of U.S. judicial proceedings. To carry out these crimes and conceal their

past criminal actions on behalf of the enterprise, Mr. Forlit utilized Insight and SDC-Gadot to

receive and transfer funds into and from the U.S. to pay for and promote the enterprise’s hacking

and smear operations and obstruction-of-justice campaign.



                                                 14
             Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 15 of 70




       28.     Defendant Insight is a limited liability company organized under the laws of Florida

with its principal place of business at 13727 SW 152 Street, Unit 715, Miami, Florida. Insight is

one of two U.S. entities created, owned, and controlled by Mr. Forlit that the enterprise used to

receive millions of U.S. dollars in U.S. bank accounts sent from outside the U.S., which was then

used by the enterprise to pay for and promote its hacking and smear operations and obstruction-

of-justice campaign, including through further transfers to bank accounts outside of the U.S. In

addition, Mr. Forlit used Insight to engage in further transfers in the U.S. to launder funds intended

to pay for the enterprise’s unlawful activity.

       29.     Defendant SDC-Gadot is a limited liability company organized under the laws of

Florida with its principal place of business at 210 West 89th Street, Apt 1K, New York, New York,

10024. SDC-Gadot is one of two U.S. entities created, owned, and controlled by Mr. Forlit that

the Enterprise used to receive millions of U.S. dollars in U.S. bank accounts sent from outside the

U.S., which was then used by the enterprise to pay for and promote its hacking and smear

operations and obstruction-of-justice campaign, including through further transfers to bank

accounts outside of the U.S. In addition, Mr. Forlit used SDC-Gadot to engage in further transfers

in the U.S. to launder funds intended to pay for the enterprise’s unlawful activity.

       30.     Defendant Mr. Handjani is a U.S. citizen who lives in New York, New York, and

currently serves as a “Senior Advisor” with Defendant KARV. Handjani repeatedly met with other

members of the enterprise to plan and coordinate its attacks on Mr. Solomon, Mr. Azima and

others, and the cover-up of the enterprise’s criminal actions. Mr. Handjani served for many years

as a “front man” for the enterprise, tasked with responsibility for befriending Mr. Azima and

deceiving him as to the enterprise’s role in the hacking and theft of his documents, materials, and

other information, all to the detriment of Mr. Solomon. Mr. Handjani also received reports



                                                 15
             Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 16 of 70




prepared by enterprise hackers, regularly attended high-level enterprise meetings at Dechert’s

offices, and guaranteed offers of payment to witnesses in exchange for testimony concealing the

roles of enterprise members.

       31.     Defendant Mr. Frank is a U.S. citizen who lives in New York, New York, and is

the founder and current President of Defendant KARV. Mr. Frank repeatedly met with other

members of the enterprise to plan and coordinate its affairs, received materials unlawfully obtained

from Mr. Azima and others by the enterprise through hacking, and then disseminated those

materials to the press for the purpose of attacking the credibility of Mr. Solomon, Mr. Azima and

others associated with Mr. Azima.

       32.     Defendant KARV is a purported communications and lobbying firm located at 370

Lexington Avenue, Suite 2001, New York, NY 10017. According to Foreign Agents Registration

Act filings, KARV has served as a registered foreign agent of RAK since 2013. KARV was a key

architect of the enterprise’s broader strategy for attacking and harming Mr. Azima, and by

association, Mr. Solomon. In addition, KARV received materials unlawfully obtained from Mr.

Azima and others by the enterprise through hacking and then disseminated those materials to the

press for the purpose of attacking the credibility of Mr. Solomon, Mr. Azima and others associated

with Mr. Azima.

   C. Facts

      33.      Mr. Solomon was the victim of a multi-million-dollar, and felonious, hack-and-

smear operation carried out by an enterprise, which included the Defendants, that engaged in many

illegal and racketeering activities over years and targeted individuals in multiple countries.

Funding this widespread criminal operation was the ruler of one of the UAE’s seven emirates,

Sheikh Saud of Ras-al-Khaimah (“Sheikh Saud” or the “Ruler”). Sheikh Saud is believed to have



                                                16
             Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 17 of 70




grown convinced that Mr. Azima was part of a broader conspiracy of individuals trying to unseat

him. Ras al Khaimah sits astride the Persian Gulf, and its close proximity to Iran makes it

extremely strategic. Sheikh Saud directly and/or indirectly hired the Defendants. As part of their

engagement, for which they were compensated, the Defendants and/or their Cohorts targeted a

range of perceived threats to Sheikh Saud through illegal, unethical and immoral conduct, which

inflicted damage upon several individuals, including the Plaintiff Mr. Solomon.

       34.     As background, Mr. Solomon was briefed in the fall of 2012 by both American and

Israeli intelligence officials that Iran was seeking to use the Republic of Georgia to evade Western

sanctions and launder money. The briefings focused on three moneymen for the Islamic

Revolutionary Guard Corps (“IRGC”) — Houshang Hosseinpour, Pourya Nayebi, and Houshang

Farsoudeh — as being at the center of this operation on behalf of the IRGC, a Foreign Terrorist

Organization as designated by the US Department of State. The IRGC moneymen used Iranian

state funds to buy a Georgian airline, bank, hotel and port. The hotel was sold by the ruler of Ras

al Khaimah, Sheik Saud. Mr. Azima brokered some of these sales, and at the time was on good

terms with Sheikh Saud. Nevertheless, Mr. Azima served a source to Mr. Solomon and provided

him with information that was critical to Mr. Solomon’s reporting on the matter.

       35.     About six months later, Mr. Solomon published a front-page story in the WSJ about

the three Iranian moneymen and their laundering activities in Europe. The fallout was swift.

Georgia ceased its visa-free policy for Iranian nationals in July of 2013 and froze 150 Iranian bank

accounts in the country. Tehran’s effort to use Georgia as a laundering center was upended, and

Sheikh Saud was unable to sell his assets to the three IRGC moneymen, who were in the middle

of literally the largest Iranian money laundering operations in the world. Sheikh Saud could have

been penalized by the U.S. for sanctions violations and one of his closest personal advisors,



                                                17
             Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 18 of 70




Defendant Mr. Handjani, on information and belief, has developed and/or maintained through inter

alia his work as President of PT International Commodity Trading, strong commercial and other

ties with the Islamic Republic of Iran regime, which is designated a state sponsor of terrorism by

the US government. Mr. Solomon believes that unbeknownst to him he became a person of concern

to the Ruler at or around this time.

       36.     Commencing in or around 2014, the Ruler hired Defendants Dechert and Mr.

Gerrard to investigate claims of fraudulent activity at RAKIA. Immediately prior to this

engagement, from 2011-2013, Defendants Dechert and Mr. Gerrard served as counsel leading an

internal investigation for the Eurasian Natural Resources Corporation (“ENRC”), in which the

Defendants Dechert and Mr. Gerrard were recently found to have committed reckless and

negligent breaches of duty by engaging in activities against the client’s interests.

       37.     In a similar vein, what resulted from the Defendants Dechert, Mr. Gerrard and Mr.

Hughes’ engagement with the Ruler did not resemble an ordinary, ethical legal services

engagement, but rather an abusive display of thuggery, in which the Defendants Dechert, Mr.

Gerrard and Mr. Hughes repeatedly and abusively asserted their then-prestigious reputation and

role as counsel to Sheikh Saud, under the color of UAE law, to try and intimidate witnesses into

providing false testimony against the Ruler’s adversaries, while also engaging with a group of

“investigation” firms to separately target these adversaries through illegal hacking operations. All

told, the “services” Defendants Dechert, Mr. Gerrard and Mr. Hughes provided initiated, solidified

and/or intensified a multipronged conspiracy in which they played a central role leading,

coordinating and/or participating, and which amounted to a global racketeering enterprise

comprised of various actors participating in repeated racketeering and other illegal acts that

included, inter alia, fraud, human rights abuses, kidnappings, torture, extortion, obstruction of



                                                 18
             Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 19 of 70




justice, witness tampering, illegal hacking operations, money laundering and attacks against the

free press. This illegal activity also entailed the use of Sheikh Saud’s control, by virtue of his

position as the Ruler of RAK, over massive business operations and abundant wealth, which was

shared with or among the Defendants and/or Cohorts in the form of lucrative contracts for services

provided. The illegal activities engaged in by the racketeering enterprises occurred in and/or

impacted countries and cities across the world, inter alia, the United States of America, the Islamic

Republic of Iran, The United Arab Emirates, the United Kingdom, the Republic of Georgia, Israel,

Switzerland, and the Republic of Cyprus.

       38.     Mr. Solomon was one of many people who were targeted and harmed by the

Defendants and/or their Cohorts. Specifically, the Defendants Dechert and Mr. Gerrard have

admitted having viewed Mr. Solomon as a threat due to his relationships with key witnesses of the

Defendants relevant illegal activity, including when Mr. Solomon’s name was mentioned to Mr.

Gerrard by Mr. Azima, who was threatening to tell Mr. Solomon about Defendants Dechert and

Mr. Gerrard’s racketeering and other illegal activity. At the time, Mr. Solomon was garnering

significant international attention for his coverage breaking news that the Obama Administration

had secretly organized an airlift of wooden pallets reportedly stacked with $400 million worth of

cash to Iran as part of a prisoner exchange. Indeed, Mr. Azima was a source for Mr. Solomon,

who had also exposed certain illegal dealings of the racketeering enterprise with Mr. Azima’s help,

specifically the Iranian money laundering scheme that was of interest to the Ruler, and therefore

to the Defendants and/or their Cohorts in their later investigation into emails of Mr. Azima that

were hacked and dumped by the Defendants and/or their Cohorts.

       39.     Upon discovering Mr. Azima and Mr. Solomon’s relationship, Defendants Dechert

and Mr. Gerrard immediately instructed their Cohorts including other Defendants to locate



                                                 19
             Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 20 of 70




documents implicating Mr. Solomon from the batch of documents that were illegally hacked and

stolen from Mr. Azima by the Defendants and/or their Cohorts, including via Defendants Mr. Del

Rosso and Vital. Within weeks, a tranche of encrypted electronic communications was posted on

the internet, which included an entire folder containing communications between Mr. Solomon

and Mr. Azima. The Defendants and/or their Cohorts, including Defendants Mr. Forlit, Insight and

SDC-Global, located files and created a dossier of communications, which were selected in a

manipulative and misleading way to present a false narrative implicating Mr. Solomon in

purported improper, unethical and/or fraudulent activities. The Defendants and/or their Cohorts

wrongfully disclosed this dossier first to Mr. Solomon’s employer, the Wall Street Journal, at its

Washington DC bureau, and then to other media outlets in an attempt to malign and discredit him.

As a result of the Defendants’ actions, Mr. Solomon was discredited and fired by the Wall Street

Journal, thereby achieving one of the goals and objectives of the conspiracy.

       40.      Mr. Solomon was unaware that he had been the target of the racketeering enterprise

and that his termination was facilitated by illegal and malicious activity of the Defendants and/or

their Cohorts, because the Defendants and/or their Cohorts, intentionally and fraudulently

concealed their role in the hacking of Mr. Azima by committing and conspiring with others to

commit perjury and by developing and presenting in court a fabricated story about how the

Defendants came into knowledge and/or possession of the stolen documents.

       41.     A series of filings in new and existing lawsuits collectively recently exposed the

architecture and inter-workings of this global racketeering enterprise and highlighted the

significant involvement of the attorneys of Defendant Dechert, particularly including but not

limited to Defendant Mr. Gerrard, in engaging in a variety of shocking acts in furtherance of the

conspiracy and enterprise, as well as the roles of all other Defendants. These filings revealed that



                                                20
             Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 21 of 70




a critical component of the racketeering enterprise was to silence, discredit and shift the blame and

financial burden of the enterprise onto those individuals that the Defendants and/or their Cohorts

perceived as possessing the requisite knowledge, resources and/or desire to expose the racketeering

enterprise’s illegal activities in material ways, which came to include Mr. Solomon who was fired

from his job as a reporter for the Wall Street Journal as a result of the illegal, wrongful and

conspiratorial conduct of the Defendants and/or their Cohorts. Two of those filings were lawsuits

commenced in 2020, by a pair of former RAKIA executives who claimed that the Ruler and

Defendants Dechert, Mr. Gerrard and Mr. Hughes illegally kidnapped, robbed and tortured them

with the aim of extorting false confessions that would implicate the victims along with other

targeted individuals perceived as threats to the racketeering enterprise. In their filings, the

kidnapped claimants allege that they were abducted and unlawfully detained in September 2014

in RAK on bogus charges of fraud against RAKIA and that, while in detention, Defendants

Dechert, Mr. Gerrard and Mr. Hughes made threats to them and their families, which would be

carried out unless they gave false testimony implicating, among others, Mr. Azima, who was at

the time a source of Mr. Solomon’s for his important news gathering and investigative journalism

efforts on issues of crucial concern to the public. A June 24, 2022 filing with the High Court of

Justice Business and Property Courts of England & Wales, Business List revealed that in January

of 2016, the Defendants and/or their Cohorts were aware and found significant that Mr. Azima had

connected Mr. Solomon with one of those kidnapped claimants.

       42.     As a result of the filing on October 15, 2020 of a complaint against Defendants

Vital and its president and owner Mr. Del Rosso in U.S. District Court for the Middle District of

North Carolina by Mr. Azima, Mr. Solomon learned of the allegations that Defendant Dechert was

involved in the hacking and hired, paid, directed Defendants Mr. Del Rosso and Vital to hack Mr.



                                                 21
             Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 22 of 70




Azima. The allegations included, but were not limited to, that Defendants Vital and Mr. Del Rosso

stole Mr. Azima’s computer data, including emails, which were then dumped online and used by

the Defendants and their Cohorts in an attempt to ruin Mr. Solomon and Mr. Azima’s reputations

and damage them financially.

       43.     These stolen emails were used to ruin Mr. Solomon’s reputation and damage him

financially by causing him to, inter alia, lose his job with the Wall Street Journal.

       44.     More information about the Defendants’ fraudulently concealed roles in directing

the hacking of Mr. Azima came to light on January 7, 2022, when an investigator named Stuart

Page (“Mr. Page”) filed a corrected witness statement with the Business and Property Courts of

England and Wales as part of a lawsuit commenced in 2016 by RAK against Mr. Azima. This

statement “corrected” his prior June 20, 2019 witness statement, which had initially corroborated

Defendant Mr. Gerrard’s June 24, 2019 statement, both in the same 2016 case. Mr. Page and

Defendant Mr. Gerrard’s fabricated 2019 statements painted a picture of Mr. Page casually

learning about Mr. Azima’s hacked-and-dumped emails from a friend, Majdi Halabi, and passing

this information along indirectly to Defendant Mr. Gerrard through then-RAKIA executive Jamie

Buchanan (“Mr. Buchanan”). However, Mr. Page’s corrected 2022 statement disclosed that he and

Defendant Mr. Gerrard conspired with others to fabricate their testimony first at a meeting in

Cyprus and later in Switzerland to participate in a mock trial led by Defendant Mr. Gerrard to

ensure the perjury would withstand cross examination. In his corrected testimony, Mr. Page

explained that the data was obtained by Mr. Forlit, an investigator who was a professional hacker

who headed one or more companies which were being paid by “various RAK entities” through

Mr. Page, who negotiated the budget with Defendant Mr. Gerrard and Mr. Buchanan. Mr. Page

further explained that Mr. Forlit was retained to perform certain hacking efforts to discover



                                                 22
             Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 23 of 70




information in particular about a transaction that Mr. Azima brokered—RAKIA’s sale of the

Sheraton Metechi Hotel in Tblisi, Georgia to three Iranian buyers who had been placed on the US

sanctions list for laundering money on behalf of the Islamic Republic of Iran, a scheme which was

uncovered due in part to the reporting of Mr. Solomon with the help of Mr. Azima and one of the

kidnapped RAKIA executives.

       45.     On February 2, 2022, Mr. Halabi submitted a corrected witness statement in which

he disclosed that the cover story he provided in his earlier witness statement, like Mr. Page’s, was

“concocted during a number of meetings which took place been 2017 and 2019 between

(variously),” Defendants Mr. Gerrard, Mr. Hughes, and Mr. Forlit, as well as co-conspirator non-

defendants Mr. Page and Mr. Buchanan. Both Mr. Halabi’s cover story and details about the

formation of the concocted and untrue cover story align with Mr. Page’s accounts of each.

       46.     Indeed, Defendant Mr. Gerrard’s claim of playing no role in the hacking of Mr.

Azima’s email account were materially discredited and proved perjurious by the corrected

statements filed by Mr. Page on January 7, 2022 and by Mr. Halabi on February 2, 2022. By way

of this coordinated scheme to commit perjury, the Defendants concealed from Mr. Solomon the

fact that they directed the hacking of Mr. Azima’s account and were instrumental in using the

communications that they themselves stole to get Mr. Solomon fired.

       47.     Mr. Solomon’s job and reputation as a reporter was integral to his ability to earn,

his book publishing business and his identity, and the loss of his job and the tarnishing of his

reputation has caused him serious economic loss, damage to business and property, severe mental

anguish and extensive emotional injuries.

                            Relevant History of RAK and the Ruler

       48.     From the 1980s, Dr. Khater Massaad (“Dr. Massaad”) established and managed



                                                23
             Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 24 of 70




businesses in RAK including RAK Ceramics, of which both he and Sheikh Saud, were founders

and significant shareholders.

       49.     In October 2010, the late Sheikh Saqr Bin Muhammad Al Qasimi (the “Late

Sheikh”)—who until then was the Emir of RAK—passed away. His son, Sheikh Saud ultimately

received the backing of Abu Dhabi over his half-brother Sheikh Khaled bin Saqr Al Qasimi

(“Sheikh Khaled”) and succeeded his father as Emir of RAK. Sheikh Khaled was the Crown

Prince and Deputy Ruler of RAK between around 1958 until around June 2003 when the Late

Sheikh removed him and replaced him with the Ruler. This was an unpopular move in some

quarters leading to street protests in favor of Sheikh Khaled in RAK, and he retained significant

support in the Emirate to succeed the Late Sheikh. Accordingly, Sheikh Saud has long viewed

Sheikh Khaled as a threat to his power.

       50.     From 2006 to 2010, RAKIA made, with the full knowledge and approval of Sheikh

Saud, very significant investments outside RAK, particularly in Georgia, which included shares in

Poti Sea Port, the Sheraton Metechi Palace Hotel and Poti Port Free Industrial Zone, and a property

development company called Rakeen Developments. The background to these investments is that,

prior to his succession, the Ruler had been keen to build up RAKIA’s investments outside RAK,

and had directed that this be done, because he was concerned about Sheikh Khaled. The Ruler was

concerned that when his father passed away Abu Dhabi, the most powerful of the Emirates, might

favor Sheikh Khaled and allow him to succeed to the throne of RAK in his place. He wished to

have considerable assets which he could control for his own benefit, with the assistance of Dr.

Massaad, outside RAK, should he not become the next Emir, rather than holding assets within

RAK/the UAE and which would therefore be within the direct reach of a future government of

RAK with Sheikh Khaled as Emir.



                                                24
             Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 25 of 70




       51.     Upon his succession in October 2010, the Ruler appointed his son, Sheikh

Mohammed bin Saud bin Saqr Al Qasimi (“Sheikh Mohammed”), as Crown Prince. In so doing,

the Ruler broke his promise to make his brother Sheikh Faisal bin Sultan Al Qassimi (“Sheikh

Faisal”) the Crown Prince, which he made in 2003 upon becoming Crown Prince himself. At about

the same time, Sheikh Faisal was also removed from his role as Chairman of the Ras Al Khaimah

Free Zone Authority and replaced by another of the Ruler’s brothers, Sheikh Ahmed Bin Humaid

Al Qasimi (“Sheikh Ahmed”), who was considered more loyal to the Ruler. This caused animosity

between the Ruler and Sheikh Faisal, and the Ruler has viewed Sheikh Faisal as a threat to his

power ever since.

       52.     Also, upon his succession, the Ruler abolished the role of Deputy Ruler, which he

had promised to his other brother Sheikh Taleb bin Saqr Al Qassimi (“Sheikh Taleb”), also in

2003. This caused animosity between the Ruler and Sheikh Taleb, and the Ruler has viewed Sheikh

Taleb as a threat to his power ever since.

       53.     At the time of the Ruler’s succession, Dr. Massaad was serving as an adviser to the

Ruler and as RAKIA’s Chief Executive Officer; he was the Ruler’s close friend and confidant, in

his presence on a daily, or almost daily, basis. The Ruler and Dr. Massaad were also business

partners, as co-founders and co-owners of RAK Ceramics, which had become the world’s largest

ceramics manufacturer due to Dr. Massaad’s business acumen. The Ruler obtained significant

private wealth through his shareholding in RAK Ceramics and RAKIA. Also in 2010, Defendant

Mr. Handjani, then General Counsel for RAK Petroleum, was added to RAK Petroleum’s Board

of Directors. Defendant Mr. Handjani was and remains to this day, a trusted adviser of the Ruler.

On information and belief, Defendant Mr. Handjani also maintains close ties to the Islamic

Republic of Iran.



                                               25
              Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 26 of 70




        54.     In the face of continued lobbying through the media by Sheikh Khaled, the RAK

economy suffering as a result of the global financial crisis, and the growing Arab Spring

movement, the Ruler grew concerned about domestic criticism and potential civil unrest in relation

to RAKIA’s investments outside RAK, initially made at his direction for his own potential personal

financial and/or political benefit.

        55.     The Ruler directed that RAKIA should change the policy of foreign investment set

in place by Dr. Massaad, that he had previously approved and directed, and instead divest itself of

its foreign investments, and invest the proceeds within RAK. Dr. Massaad disagreed with this

change of policy, but the Ruler overruled him. The sudden change of policy led to the rushed sale

of assets in Georgia at a premature stage with a detrimental effect on the return obtained from

them.

        56.     Meanwhile, as Crown Prince, Sheikh Mohammed wanted to become the Ruler’s

closest advisor in place of Dr. Massaad, to take control of RAKIA, and to reduce Dr. Massaad’s

influence in RAK. Ultimately Sheikh Mohammed succeeded in driving a wedge between the Ruler

and Dr. Massaad, and the Ruler turned against Dr. Massaad.

        57.     Following the attempted disposal of RAKIA’s key overseas assets, Dr. Massaad

was sidelined from RAK Ceramics and other RAK businesses during this period, although he

continued to work practically full-time for RAKIA until he left RAK in around June 2012.

        58.     In the fall of 2012, Mr. Solomon learned through confidential sources that Iran was

seeking to use the Republic of Georgia to evade Western sanctions and launder money. The

briefings focused on three moneymen for the Islamic Revolutionary Guard Corps (“IRGC”) —

Houshang Hosseinpour, Pourya Nayebi, and Houshang Farsoudeh — as being at the center of this

operation. The IRGC moneymen used Iranian state funds to buy a Georgian airline, bank, hotel



                                                26
             Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 27 of 70




and port, of which two of the assets were sold by RAKIA at the direction of the Ruler. Mr. Azima

brokered some of these sales, and at the time was on good terms with the Ruler. Nevertheless, Mr.

Azima served as a source to Mr. Solomon and provided him with information that was critical to

Mr. Solomon’s reporting on the matter.

       59.     Mr. Solomon published a front-page story in the Wall Street Journal about the three

Iranian moneymen and their laundering activities in Europe. The fallout was swift. Georgia ceased

its visa-free policy for Iranian nationals in July of 2013 and froze 150 Iranian bank accounts in the

country. Tehran’s effort to use Georgia as a laundering center was upended, and the Ruler was

unable to sell his assets to the three men. The Treasury Department placed the three IRGC

operatives on the U.S. sanctions list in early 2014, which barred them from conducting any

business in U.S. dollars or with American citizens or entities.

       60.     After his attempted sale of the Georgian assets to Iran was frustrated by Mr.

Solomon’s reporting, the Ruler came to learn Dr. Massaad had launched a business in Lebanon

that was backed by Sheikh Faisal, among others. As the Ruler had severely damaged his

relationship with Sheikh Faisal in 2010, the Ruler became concerned that Dr. Massaad was

working with Sheikh Faisal and others in order to destabilize the Ruler, and that Sheikh Faisal and

others were plotting to remove the Ruler with the assistance of Abu Dhabi.

       61.     Since finding out about Dr. Massaad’s business relationship with Sheikh Faisal in

2014 and following on from the fall-out between Dr. Massaad and the Ruler, and the Ruler’s

concerns about Dr. Massaad’s involvement in suspected moves to oust him by Sheikh Khaled and

Sheikh Faisal, the Ruler retained Defendants to assist him towards investigating Dr. Massaad and

his alleged co-conspirators, which included Mr. Azima, and with the ultimate goal to eliminate

any threats they and/or others posed to his power. The Ruler had identified Mr. Azima as the U.S.-



                                                 27
             Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 28 of 70




based operation of those seeking to oust him and therefore as a significant threat.

       62.     In furtherance thereof, Defendants assisted the Ruler with the torturous

interrogation of two Jordanian businessmen, Mr. Karam Al Sadeq and Mr. Jihad Quzmar, who had

been kidnapped and illegally detained by local police at the Ruler’s direction. Defendants Mr.

Gerrard, Mr. Hughes and other Dechert lawyers engaged directly and frequently with Mr. Al Sadeq

and Mr. Quzmar, seeking to coerce them into providing false confessions that would implicate Dr.

Massaad, Mr. Azima and others.

       63.     Shortly before being kidnapped, Mr. Al Sadeq was introduced to Mr. Solomon by

Mr. Azima in connection with Mr. Solomon’s reporting on the IRGC money laundering scheme.

A June 24, 2022 filing with the High Court of Justice Business and Property Courts of England &

Wales, Business List revealed that in January of 2016, the Defendants and/or their Cohorts were

aware and found significant that Mr. Azima had connected Mr. Solomon with Mr. Al Sadeq.

                          Kidnapping and extortion of Mr. Al Sadeq

       64.     On January 28, 2020, Karam Salah Al Din Awni Al Sadeq (“Mr. Al Sadeq”)

initiated proceedings and on March 31, 2020 he filed a Particulars of Claim in the High Court of

Justice of England & Wales, Queen’s Bench Division against Defendant Dechert, Defendant Mr.

Gerrard, Defendant Mr. Hughes and Caroline Black (“Ms. Black”), another Dechert attorney.

       64.     According to his claim, on September 5, 2014, Mr. Al Sadeq was forcibly taken

from his home by RAK State Security Investigations personnel without being formally arrested in

violation of UAE law. During his detention, Mr. Al Sadeq claims he was aggressively questioned

by Defendant Mr. Gerrard, who made clear that if Mr. Al Sadeq did not give false information to

implicate Mr. Azima and his alleged co-conspirators in having committed acts of fraud against

RAKIA, he would never be released and his wife Dima Al Sadeq (“Mrs. Al Sadeq”) would be



                                                28
             Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 29 of 70




arrested on false charges of embezzlement. Mr. Al Sadeq alleged that Defendant Mr. Gerrard had

been behind his kidnapping and illegal rendition and was, along with the Ruler, ultimately in

charge of Mr. Al Sadeq’s detention.

       65.     On or around September 17, 2014, Mr. Al Sadeq was taken out of the GHQ,

accompanied by Ms. Black and two of her other colleagues from Defendant Dechert, and taken to

his office and his home in Dubai. Both these locations were searched by a large team of

investigators wearing forensic clothing. Ms. Black was in charge of the search of both properties

and directed the investigators to take all possessions from Mr. Al Sadeq's office as well as many

from his home, such as papers relating to his business, clothing, jewelry belonging to his wife and

children, all electronic items. None of the items taken during these searches were ever returned.

       66.     In around early October 2014, during the middle of the night, Mr. Al Sadeq was

transferred to the Al Barirat Camp in Al Ashqar in RAK (“Al Barirat”), a camp for the Ruler's

private militia–not an official prison within the RAK criminal justice system, where he claims he

was placed in solitary confinement, this time for around 560 days and was only allowed to leave

his cell for limited purposes such as interrogations (many of which were conducted by Defendant

Mr. Gerrard, Defendant Mr. Hughes or other attorneys working for Defendant Dechert).

       67.     Defendant Mr. Gerrard, Mr. Hughes and Ms. Black and Defendant Dechert were

fully aware of the atrocious and abusive conditions in which Mr. Al Sadeq was being kept at Al

Barirat and represented that they had the power to ensure that the conditions of his detention

improved, if he would confess to matters that were repeatedly put to him, and to implicate Dr.

Massaad, Mr. Azima and others for their alleged wrongdoing.

       68.     In particular, Mr. Al Sadeq claims that Defendant Mr. Gerrard asked him to give

false evidence that Mr. Azima was an international arms dealer, was manipulating an aviation firm



                                                29
             Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 30 of 70




in RAK called RAK Heavy Lift in order to use it as a gun-running vehicle and had embezzled

money from the Poti Port project and a shopping center project in Georgia, which in fact had been

carried out not by Mr. Azima but by persons known to, and with the knowledge and approval of,

the Ruler.

       69.     Meanwhile, Mr. Al Sadeq alleges that Ms. Black remained in contact with Mrs. Al

Sadeq seeking to ensure that she would not cooperate with a journalist from the Guardian

newspaper, Simon Goodley by whom she had been contacted. Following several more months of

being pressured by the Defendants to provide false testimony and without the benefit of legal

advice, Mr. Al Sadeq claims he eventually signed statements confessing to his involvement in

alleged fraud under duress.

       70.     Despite the false and fraudulent promises that were made to Mr. Al Sadeq, he

remains incarcerated to this day.

                                    Illegal Hacking of Azima

       71.     In the fall of 2014, Mr. Azima learned of the unlawful detention and interrogations

of Mr. Al Sadeq, and Defendant Dechert’s involvement in the abuse and mistreatment of Mr. Al

Sadeq and others believed to be enemies of RAK.

       72.     Mr. Azima, Mr. Massaad, and others sought to end the mistreatment of Mr. Al

Sadeq and secure his release by investigating and publicizing the conduct of Defendant Mr.

Gerrard and others. Media outlets and humanitarian organizations were provided details of the

abuse and began to investigate. Mr. Azima became a target of Defendant Dechert’s investigation

on behalf of RAK when he sought to expose RAK’s history of human rights abuses generally and,

in particular, the human rights abuses against Mr. Al Sadeq and Defendant Mr. Gerrard’s role in

Mr. Al Sadeq’s mistreatment.



                                               30
               Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 31 of 70




         73.     In 2015, Defendant Mr. Gerrard identified Mr. Azima as being part of a “US team”

acting to publicize the activities of RAK and Defendants Dechert and Mr. Gerrard. Defendants

Mr. Gerrard, Mr. Handjani and Mr. Frank conspired with Mr. Buchanan and others to attack Mr.

Azima as evidenced by a report that Defendant Mr. Gerrard admitted to reading and numerous

emails between Defendants Mr. Gerrard, Mr. Handjani, and Mr. Frank, as well as Mr. Buchanan,

and others, which discussed the conspiratorial scheme, plan and design to “target,” “attack,” and

“go after” Mr. Azima. The report stated that “[t]he campaign is not public yet, so we will be able

to gather intelligence on their progress in order to monitor their activities and attempt to contain

or ruin their plans.”

        74.      The conspiracy took the form of a hack and dump scheme, in which the enterprise

through a series of transactions retained multiple, separate teams of hackers: one team consisting

of Defendants Vital and Mr. Del Rosso as well as Cyber Defense, BellTrox and CyberRoot in

India which hacked Mr. Azima’s email account and dumped encrypted tranches of his emails onto

a public location accessible through the internet; a second team consisting of Mr. Page, Defendant

Mr. Forlit and others who claimed to have “independently” located and advised Defendant Dechert

as to the location of those tranches presumably so that Defendant Dechert would have plausible

deniability; and a third team consisting of NTi, a firm recommended by Defendant Mr. Del Rosso’s

lawyer, which downloaded the emails and provided them to Defendant Dechert. All three of these

firms were directly or indirectly paid by RAK entities or Defendant Dechert, and in so doing joined

and participated in the racketeering enterprise.

        75.      Mr. Page was paid around $300,000 per month (sometimes more) for this work

from a variety of RAK entities. This sum would be subject to occasional uplifts for specific pieces

of additional work or expenditure which fell outside the scope of his original mandate.



                                                   31
             Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 32 of 70




Approximately $250,000 per month was then paid by Mr. Page to Defendants Mr. Forlit and

Insight for their assistance. At various times, Mr. Buchanan told Mr. Page that the Ruler was

considering cutting his budget. However, when Mr. Page explained to Mr. Buchanan and

Defendant Mr. Gerrard that this would involve losing access to some of Defendant Mr. Forlit’s

sources and methods, Defendant Mr. Gerrard and Mr. Buchanan were successful in ensuring that

Mr. Page’s budget remained at around this level throughout Mr. Page’s engagement.

       76.     Defendants Vital and Mr. Del Rosso were engaged and paid more than $1 million

by Defendant Dechert in concert with RAKIA, directly or indirectly, for their work. Defendants

Vital and Mr. Del Rosso paid CyberRoot more than $1 million for CyberRoot’s hacking services

and the distribution of Mr. Azima’s stolen data. At least some of the payments made by Defendant

Vital were sent to CyberRoot’s bank, Kotak Mahindra Bank. Substantial payments were made to

CyberRoot around the time that Mr. Azima’s stolen data was published online in August and

September 2016.

       77.     This scheme was designed to create the appearance that those responsible for

hacking Mr. Azima, those who located the emails and those who provided them to Defendants

Dechert and Mr. Gerrard were all disconnected, and at the same time, enable Defendants Dechert

and Mr. Gerrard to control and strategically determine which emails would be shared, when and

with whom.

       78.     As alleged in Mr. Azima’s complaint against Defendants Mr. Del Rosso and Vital,

Defendant Mr. Gerrard hired Defendants Mr. Del Rosso and Vital purportedly to “investigate

assets potentially stolen from the Government of” RAK. In reality, Defendants Mr. Gerrard and

Dechert hired Defendants Mr. Del Rosso and Vital to target Mr. Azima and to obtain Mr. Azima’s

emails and confidential data, as well as for other purposes. Throughout the course of his work for



                                               32
                Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 33 of 70




Defendant Dechert, Defendant Mr. Del Rosso communicated with lawyers from Defendant

Dechert on a “very regular basis.” Defendant Mr. Del Rosso hired Chris Swecker, a North

Carolina-based lawyer, to assist Defendants Mr. Del Rosso and Vital in their work for Defendants

Dechert and Mr. Gerrard.

          79.     Defendant Mr. Del Rosso hired the Indian hacking firm, CyberRoot, to provide the

technical expertise to attempt to lure Mr. Azima into providing his login data, so that Defendants

and their co-conspirators could have persistent access to Mr. Azima’s accounts and computers. At

least five employees of CyberRoot, including one of the company’s directors, Vibhor Sharma,

hacked Mr. Azima pursuant to Defendant Mr. Del Rosso’s instructions. CyberRoot was assisted

by BellTroX, which permitted CyberRoot to use BellTroX’s infrastructure, including its server, to

conduct the hacking. This work was done at the direction of the Defendants and others. CyberRoot

and BellTroX share common employees. One such employee is Preeti Thapiyal, whose LinkedIn

page lists his work as including the creation of “undetectable phishing Payloads.”

          80.     CyberRoot, assisted by BellTroX, illegally and wrongfully hacked and gained

access to Mr. Azima’s computers and accounts through phishing and spear-phishing emails. The

breach of Mr. Azima’s computer systems gave CyberRoot covert and persistent access to Mr.

Azima’s email accounts and computers and his communications with Mr. Solomon.

          81.     Acting at the direction of Defendants Dechert and Mr. Gerrard via Defendants Vital

and Mr. Del Rosso, CyberRoot was to create, upload, and transmit multiple unauthorized copies

of Mr. Azima’s data onto the internet so that it could be independently located but not accessed by

others.

          82.     Meanwhile, Defendant Mr. Gerrard worked with Mr. Page purportedly to

investigate allegations of fraud at RAKIA, but in reality to independently locate the hacked and



                                                  33
             Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 34 of 70




dumped emails and perform other tasks. Mr. Page in turn retained Defendant Mr. Amit Forlit of

Insight to assist with the investigation through the use of, among other methods, signal intelligence

(or SIGINT), which is intelligence-gathering by the interception of communications.

       83.     Mr. Page understood Defendant Mr. Forlit’s firm Insight made use of

subcontractors located outside of Israel which employed SIGINT and the use of hacking

techniques. Effectively, Defendant Mr. Forlit was hired through Mr. Page to “discover” and

disclose the encrypted hacked and dumped emails.

       84.     In addition to undertaking some of the investigative work for the project, Mr. Page’s

role also included sharing reports prepared by Defendants Mr. Forlit and Insight with the Ruler,

Mr. Buchanan and Defendant Mr. Gerrard as securely as possible (given the sensitivity of the

reports and what they contained).

       85.     In late July 2016, Defendant Mr. Gerrard met with Mr. Azima and threatened him.

Mr. Azima, in turn, advised Defendant Mr. Gerrard that he had important contacts, specifically

agents of the Central Intelligence Agency and the Plaintiff Mr. Solomon, to whom the Defendants

and/or their Cohorts knew he could disclose Defendants Dechert, Mr. Gerrard and RAK’s human

rights abuses and racketeering activity.

       86.     Around this time, members of the enterprise became specifically interested in Mr.

Page’s investigation into RAKIA’s sale of the Sheraton Metechi Hotel in Tblisi, Georgia to three

Iranian buyers: Houshang Farsoudeh, Houshang Hosseinpour and Pourya Nayebi (who at the time

of Mr. Page’s investigation were on the US sanctions list, as a result of Mr. Solomon’s reporting

on the matter as described above).

       87.     Mr. Buchanan told Mr. Page that Mr. Azima had introduced the three buyers to the

transaction and asked Mr. Page to look into the sale of the hotel as part of his investigation. The



                                                 34
             Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 35 of 70




reports produced by Defendant Mr. Forlit and his team in connection with this part of the

investigation contained information derived from SIGINT (or hacked) material.

       88.     Within days of Defendant Mr. Gerrard’s meeting with Mr. Azima, CyberRoot,

which was assisted by BellTroX, created blog sites on or about August 7, 2016, accusing Mr.

Azima of fraud, include an entire confidential file wrongfully obtained and produced on the

internet dedicated to Mr. Azima’s relationship with Mr. Solomon. During this same period,

Defendant Mr. Del Rosso made significant payments to CyberRoot for their efforts.

       89.     The websites contained links to BitTorrent sites that Defendant Dechert later

admitted contained large quantities of Mr. Azima’s hacked and stolen data. These BitTorrent links

were posted by users named anjames and an_james. The usernames anjames and an_james are

usernames associated with Sharma at CyberRoot. CyberRoot also used the email account

an_james@protonmail.ch to create these blog sites and upload Mr. Azima’s hacked and stolen

data. One tranche focused on Mr. Azima’s dealings with Dr. Massaad. And the second contained

stolen and manipulated correspondence between Mr. Azima and Mr. Solomon and was entitled:

“Fraud Between Farhad Azima and Jay Solomon.”

       90.     CyberRoot posted the data on the internet to create the misimpression that the data

CyberRoot and Defendants stole from Mr. Azima was available to anyone who used the internet.

CyberRoot created BitTorrent links that contained Mr. Azima’s hacked and stolen data and those

links were posted on the blog sites alleging fraud by Mr. Azima. Mr. Page, Defendant Mr. Del

Rosso, Defendant Mr. Gerrard, and an Israeli journalist, Majdi Halabi, created a false story and

evidentiary trail to cover up their and RAKIA’s responsibility for the hacking, and to wrongly

suggest that Mr. Page had innocently found the hacked material on BitTorrents after being alerted

to it by Mr. Halabi.



                                               35
              Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 36 of 70




        91.     In fact, the data on the BitTorrent links was not accessible to the public because the

“seeders” necessary for the data to be downloaded were not available. Defendant Dechert, and

others acting at their direction, are the only persons or entities known to have obtained the data

from the BitTorrent sites at this time.

        92.     In fact, it is now known that in August 2016, Defendant Mr. Forlit provided to Mr.

Page the link to a tranche of Mr Azima’s confidential data. Mr. Page then passed on the link to

Mr. Buchanan and Defendant Mr. Gerrard for their further handling.

        93.     According to Defendant Mr. Gerrard’s witness statement, which has been refuted

in significant part by at least two former corroborating witnesses, Defendant Mr. Gerrard contacted

Defendant Mr. Del Rosso, asking for his lawyer’s recommendation as to who could help with

getting the material downloaded.          Defendant Mr. Del Rosso’s lawyer, Chris Sweckler

recommended Nti, which Defendant Mr. Gerrard engaged to download the stolen data and provide

it to him.

        94.     The downloaded hacked and stolen data provided by Nti, presented in a misleading

way as to falsely implicate Mr. Solomon in an alleged set of improper dealings with Mr. Azima,

under the heading “fraud” was then disseminated to the Wall Street Journal, Mr. Solomon’s

employer, as well as other media outlets.

                                    The Firing of Jay Solomon

        95.     In December of 2016, Mr. Solomon was told by the Washington DC bureau chief

of the Wall Street Journal, Jerry Seib, that some Dow Jones lawyers wanted to speak with him. At

a meeting in the Wall Street Journal’s Washington DC office, the Dow Jones attorney, Craig

Linder, presented Mr. Solomon with some of the hacked and stolen correspondence between him

and Mr. Azima. Mr. Linder specifically mentioned a company called Denx that Mr. Azima was



                                                 36
             Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 37 of 70




establishing and wanted to know if Mr. Solomon had joined the company. He said he would never

join a company with Mr. Azima, as Mr. Azima was his source.

       96.     Mr. Solomon responded that Mr. Azima had raised the possibility of Mr. Solomon

joining the company along with some of the other ideas he had proposed to Mr. Solomon. Mr.

Solomon explained that he never joined Denx; never said he was going to join it; and took no

actions on behalf of the company.

       97.     There was no way Dow Jones could have downloaded those emails off those

BitTorrent accounts without the help of Defendant Dechert and/or their Cohorts, as the files were

encrypted. They could not be opened without a digital key, efforts to download the documents

invited serious risk of infection and the sheer volume of data rendered the files inaccessible. Mr.

Linder refused to tell Mr. Solomon how Dow Jones obtained the stolen and manipulated data, only

that it came in “over the transom.” Notably, the parent of Dow Jones, News Corp. is a client of

Defendant Dechert.

       98.     Following this meeting, Mr. Solomon noticed some changes in how he was being

treated on the job. His employer had nominated him for many awards, including the Pulitzer Prize,

in connection with his reporting on the US-Iran nuclear deal. Subsequent to the meeting, in

January of 2017, the Wall Street Journal withdrew Mr. Solomon’s nomination for the Pulitzer and

also—as Mr. Solomon later learned—declined to accept a National Press Club award he’d won

for his coverage of the secret U.S. cash shipments to Iran. However, Mr. Solomon remained

employed and continued writing front page stories for the paper.

       99.     In June 2017, Mr. Solomon was contacted by a Washington DC based Associated

Press reporter, Jeff Horwitz, who said he was writing about Mr. Solomon’s business dealings with

Mr. Azima. Mr. Solomon told Mr. Horwitz the same thing that he had told Craig Linder, including



                                                37
              Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 38 of 70




denying that Mr. Solomon was ever part of any of Mr. Azima’s companies. Mr. Horwitz was not

placated and accused Mr. Solomon in communications with the Wall Street Journal’s public

relations team of potentially being party to a string of criminal activities in tandem with Mr. Azima.

       100.     Among other things, Mr. Horwitz told the Wall Street Journal’s spokesman via

email that he had evidence indicating Mr. Solomon played a role in trafficking arms to the Middle

East; was part of a conspiracy to instigate a coup against the royal family of Kuwait; and had an

interest in Denx. These claims mirrored some of the accusations which Defendant Mr. Gerrard

made about Mr. Azima in British court proceedings. None of them were true, and despite Mr.

Solomon’s denials once Mr. Horwitz decided he was publishing this story, on June 21, 2017, Mr.

Solomon was told by the Wall Street Journal that he was being fired in connection with the

accusations advanced by Mr. Horwitz’s reporting.

       101.     At the time of the firing, Mr. Solomon was unaware that the hacking of Mr. Azima

was a component of a larger racketeering enterprise that had been orchestrated by Defendants.

Until the series of court filings, which started in 2020, Mr. Solomon believed he was hacked by

Iran as retaliation for his investigative reporting on the money laundering scheme in 2013 and

secret payments by the Obama administration in 2016.

     The Racketeering Enterprise’s Fraudulent Concealment and Coordinated Perjury
                                       Initiatives

       102.     The racketeering enterprise adopted secure communications protocols for handling

Defendant Mr. Forlit’s reports and sharing them with Defendants and Mr. Buchanan and the Ruler.

The goal of this protocol was to leave no paper trail and to ensure that the reports were destroyed

after having been read.

       103.     An email account was created that only Defendant Mr. Forlit, Mr. Page and Mr.

Page’s personal assistant, Caroline Timberlake, could access, and for which the three knew the

                                                 38
               Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 39 of 70




username and password. A draft email would be prepared (and stay in the draft folder of the email

account) with instructions and a copy of the report. The report would then be downloaded to a

standalone laptop (with no connection to Mr. Page’s company’s servers), printed from a standalone

printer, and the draft message would be overwritten. The procedure is an electronic version of a

protocol called a “dead letter box” for ensuring that there is no paper trail connecting a sender to

a recipient.

        104.     Defendant Mr. Forlit (or someone from his team) would then use a secure

messaging application (in the first instance, Silent Circle, and later on, Signal Messenger) to send

a coded message to Mr. Page (or occasionally Ms. Timberlake) to indicate that there was

something to be reviewed. These messages would then be deleted.

        105.     Once the reports had been downloaded and printed in hard copy, Ms. Timberlake

was instructed to delete the electronic copy. The reports were hand-delivered to Mr. Buchanan, the

Ruler in RAK and Defendant Mr. Gerrard, starting in 2016. At first the reports were delivered (via

courier or hand-delivered by Ms. Timberlake) to Defendant Mr. Gerrard (or Defendant Mr.

Gerrard’s secretary) first at Defendant Dechert’s office in London and later to his home in Nutley,

East Sussex.

        106.     Mr. Page also arranged meetings with Defendant Mr. Forlit, Mr. Buchanan, and

Defendant Mr. Gerrard between 2015 and 2019 in order to obtain guidance from Defendant Mr.

Gerrard and Mr. Buchanan as to the direction of the cover-up work to be done.

        107.     Starting in 2016, multiple meetings took place at Defendant Dechert’s office in

London. Towards the end of 2016 or the beginning of 2017, Defendant Mr. Gerrard became

increasingly concerned about meeting at Defendant Dechert’s office as he did not want a written

record indicating that Defendant Mr. Forlit (or any other member of Defendant Mr. Forlit’s team)



                                                39
              Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 40 of 70




had visited him. It was after this that when the enterprise convened in London, the participants

gathered at Mr. Buchanan’s suite in the Churchill Hotel or in Defendant Mr. Forlit’s suite at the

Metropolitan Hotel.

       108.     Mr. Buchanan told Mr. Page that he also attended strategy meetings in New York

every four to six weeks with Defendant Mr. Gerrard, Defendant Mr. Frank (of Defendant KARV),

and Defendant Mr. Handjani to discuss the investigation and RAK’s litigation.

       109.     In September 2016, Defendant Mr. Hughes (a partner for Defendant Dechert at the

time), on RAKIA’s behalf, threatened to file a lawsuit in the U.K. against Mr. Azima and provided

Mr. Azima’s counsel with some of the emails that Defendant Vital, Defendant Mr. Del Rosso and

CyberRoot had stolen from Mr. Azima. RAKIA, represented by Defendant Dechert, sued Mr.

Azima in England in September 2016 relying on the data that Defendants Vital and Mr. Del Rosso

stole from Mr. Azima.

       110.     In 2018, in the context of RAK’s proceedings, it became clear to Mr. Page that

Defendant Mr. Gerrard was desperate to rely on the hacked material in support of RAKIA’s claims

against Mr. Azima.

       111.     During the second half of 2018, it therefore became necessary for RAKIA to

confirm and commit to a case as to how it had discovered the confidential data. In July 2018,

Defendant Mr. Hughes falsely stated in a filing before this court, that a “public relations company”

innocently found Mr. Azima’s stolen data on the internet. On August 8, 2018, Defendant Dechert

filed a brief before the U.S. Court of Appeals for the D.C. Circuit falsely and misleadingly asserting

that Mr. Azima’s stolen data was “obtained via publicly available internet sources.” In addition,

Defendant Dechert falsely and misleadingly stated: “It is highly implausible that RAKIA had ten

continuous months of unfettered access to Azima’s personal computers, as Azima contends.”



                                                 40
              Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 41 of 70




Finally, Defendant Dechert falsely and misleadingly stated: “Again, there are no facts showing

that anyone – much less RAKIA – accessed Azima’s communications in real time, or sent any

emails appearing to come from him.” In November 2018, Mr. Page’s name was disclosed by

RAKIA to Mr. Azima in the context of their legal dispute as being the person who informed

RAKIA of the existence of the tranches of data.

        111. Consequently, there were a series of meetings between (variously) Defendant Mr.

Forlit, Mr. Buchanan, Defendant Mr. Gerrard and Mr. Page to discuss how to respond to Mr.

Azima’s inquiries in these proceedings regarding how his data had been discovered by RAKIA.

Dechert partner Linda Goldstein also participated in at least two of these meetings.

       112.     Defendant Mr. Forlit suggested that he would come up with an individual to act as

a cover for the discovery, who later turned out to be Mr. Majdi Halabi, who Mr. Page knew as one

of Defendant Mr. Forlit’s subcontractors. Mr. Page subsequently met with Mr. Halabi and

Defendant Mr. Forlit and discussed the idea of Mr. Halabi being used as a cover for Defendant

Mr. Forlit’s discovery of Mr. Azima's data. Mr. Page then discussed the idea of Mr. Halabi being

used as a cover story with Mr. Buchanan and Defendant Mr. Gerrard, and it was subsequently

agreed that the members of the racketeering enterprise would all meet to work out the plan. Initially

Mr. Buchanan, Defendant Mr. Gerrard and Mr. Page discussed seeing the “Israeli boys” (i.e.,

Defendant Mr. Forlit and his team) in Israel as the safest option, but they later agreed to meet in

Cyprus to sign off on the use of Mr. Halabi as a cover story.

       113.     The racketeering enterprise convened in Cyprus multiple times in late 2018. The

meeting was attended by Defendant Mr. Hughes, Defendant Mr. Gerrard, Mr. Buchanan, Mr.

Halabi, Defendant Mr. Forlit and Mr. Page. It was agreed at this meeting that everyone would

proceed with the cover story that Mr. Halabi (and not Defendant Mr. Forlit) had discovered and



                                                 41
              Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 42 of 70




passed the link to Mr. Azima’s confidential data to Mr. Page, and that, if necessary, Mr. Halabi

and Mr. Page would be willing to provide witness testimony to this effect. Mr. Halabi’s false

testimony was necessarily intended, at least in part, to obstruct the D.C. District Court Proceeding.

       114.     During this meeting, Defendant Mr. Hughes raised his objection to the cover story,

saying it was “not credible” and that it would not work, but Defendant Mr. Gerrard made it clear

that this was going to be the best way forward, and that Defendant Mr. Hughes needed to fall in

line. Mr. Page subsequently met with Ms. Black and Dorothy Cory-Wright of Defendant Dechert

and others to prepare Mr. Page’s fabricated witness statement, which he signed on June 20, 2019,

in Defendant Dechert’s London office.

       115.     In that witness statement, Mr. Page falsely claimed that he first met Mr. Halabi at

a roundtable lunch in 2012 and that Mr. Halabi was an Israeli journalist who specializes in Middle

Eastern affairs. Mr. Page claimed that he and Mr. Halabi formed a friendly relationship because

they both operate on both sides of the Palestinian/Israeli border. Mr. Page falsely claimed that he

never formally engaged Mr. Halabi as they had more of a friendship (or useful mutual relationship)

than a professional relationship and there had never been a commercial arrangement between them.

Mr. Page falsely claimed that at some point, Mr. Halabi called Mr. Page and told Mr. Page that he

had come across something interesting on the internet about Mr. Azima, but not how he had come

across this information. Mr. Page falsely testified that Mr. Halabi did not want to open the site

because it might have harmful viruses and he suggested Mr. Page should not do so either. Mr.

Page, in his fabricated witness statement, claimed not to remember how he communicated Mr.

Halabi’s discovery to Defendant Mr. Gerrard and Mr. Buchanan, just that he knows he did so. Mr.

Page also claimed that he did not know what Defendant Mr. Gerrard and Mr. Buchanan did with

the information that Mr. Halabi had allegedly found, but indicated he was told that they intended



                                                 42
              Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 43 of 70




to get a specialist firm to download it without his involvement. Mr. Page falsely claimed he was

never instructed to investigate Mr. Azima, so he was not told at that time what information had

been found in the downloaded material, which he also claimed he never downloaded himself. Mr.

Page recanted most if not all of this testimony in his second witness statement in the case, which

he filed in court on January 7, 2022.

       116.     According to Mr. Page’s corrected testimony, as the trial of the proceedings in the

Azima litigation (the “First Trial”) approached, Mr. Page was asked by Defendant Mr. Forlit (who

had in turn been instructed by Defendant Mr. Gerrard) to organize and attend a meeting with him,

Mr. Buchanan, Defendant Mr. Gerrard, and Mr. Halabi to rehearse their false testimony for the

First Trial. They settled on Switzerland as the location for the meeting.

       117.     This meeting took place over three days at a small boutique hotel in the mountains

outside of Bern. Mr. Page arrived at the hotel on the evening of December 1, 2019 and left on

December 4, 2019.

       118.     Defendant Mr. Forlit and some of his team also attended the meeting and provided

extensive security for the meeting.

       119.     Mr. Page had arranged for a special protocol to be in place to ensure maximum

security and secrecy. Mr. Page told Defendant Mr. Gerrard to leave his mobile phone at home or

to switch it off so that his location could not be tracked. Defendant Mr. Gerrard and Mr. Page used

burner phones for communication purposes, and Mr. Page left his mobile phone at home.

       120.     To avoid detection, Mr. Page did not fly direct to Switzerland. On December 1,

2019, Mr. Page took a series of trains from London to Paris Gare du Nord, then Mr. Page

transferred to Gare de l’Est. From Paris, Mr. Page then took a train to Strasbourg, then to Basel

and finally a train from Basel to Bern. In Bern, Mr. Page was collected by a member of Defendant



                                                43
              Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 44 of 70




Mr. Forlit’s security team and driven to the hotel.

       121.     At the hotel, the members of the racketeering enterprise went through a mock trial,

with Defendant Mr. Gerrard acting as both the judge and the cross-examining counsel. An effort

was made to perfect the false narrative that they were to tell the English court about how Mr. Page

had discovered the hacked data through Mr. Halabi.

       122.     As Mr. Page admitted in his corrected testimony, the members of the racketeering

enterprise who testified at trial, including Defendant Mr. Gerrard, indeed perjured themselves in

furtherance of the racketeering conspiracy to obstruct justice.

       123.     The English court recently ruled that the story put forward by RAKIA and others

on their behalf about how they discovered the stolen data was false. Specifically, the court said

that the story told by Mr. Page, Mr. Halabi, and others of innocent discovery of Mr. Azima’s stolen

data was “not true,” involved “unexplained contradictions, inconsistencies, and implausible

elements,” and “was both internally inconsistent and inconsistent with the contemporaneous

documents.” The English court said that “the true facts” about how Defendant Dechert and others

obtained Mr. Azima’s stolen data still “have not been disclosed,” despite them being required to

do so. The untrue story of innocent discovery was advanced by RAKIA’s agents. Defendant Mr.

Hughes signed a statement of truth for RAKIA advancing the story of innocent discovery. Others,

including Defendant Mr. Gerrard, Mr. Buchanan, and Mr. Page, put forward witness statements

and testimony that supported the story the court has now found to be untrue.

       124.     Defendant Mr. Del Rosso was an important part of RAKIA’s false story of

“innocent discovery” by Mr. Page of Mr. Azima’s stolen data. For example, Defendants Mr.

Gerrard and Mr. Del Rosso exchanged a series of emails on August 15 and 16, 2016, in which

Defendant Mr. Gerrard purported to “break the news” of the discovery of the hacked material on



                                                 44
               Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 45 of 70




websites. But other evidence showed that Defendant Mr. Del Rosso was aware of these websites

at least a week earlier. The emails of August 15 and 16, 2016, between Defendants Mr. Gerrard

and Mr. Del Rosso were clearly an attempt to lay a false “paper trail” of discovery.

        125.     In his witness statement, Defendant Mr. Del Rosso hid his engagement of

CyberRoot and denied any involvement in the hacking. Because of Defendant Mr. Del Rosso’s

concealment of the true facts, of which he had knowledge, neither Mr. Azima nor Mr. Solomon

learned of the role played by Defendants Mr. Del Rosso and Vital until recently. As a direct result

of his reliance on the false testimony given by the Defendants and/or their Cohorts, Mr. Solomon

remained unaware of the fraudulently concealed conduct of the Defendants and/or their Cohorts

that give rise to his claims.

        126.     The above-described meetings, correspondence, and testimony were part of a

broader scheme to conceal the enterprise’s illegal acts. The RICO Conspirators’ false statements,

all transmitted over U.S. wires, prevented Mr. Solomon, the D.C. District court, and the U.S. Court

of Appeals for the D.C. Circuit from learning material information about the enterprise and its

illegal activities. As a result, Mr. Solomon did not learn about the extent of the RICO conspirators’

false statements until years later, starting in late 2020, after Mr. Azima filed the North Carolina

litigation and individuals involved in the hacking began confessing their involvement.

        127.     On March 31, 2020, Mr. Al Sadeq filed his Particulars of Claim in the High Court

of Justice of England & Wales, Queen’s Bench Division against Defendants Dechert, Mr. Gerrard,

and Mr. Hughes as well as Defendant Dechert attorneys Ms. Black. On October 1, 2020, Mr.

Quzmar filed his Particulars of Claim in the same court against Defendants Dechert and Mr.

Gerrard. In their filings, both Mr. Al Sadeq and Mr. Quzmar claim that they were abducted and

unlawfully detained in September 2014 in RAK on bogus charges of fraud against RAKIA and



                                                 45
              Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 46 of 70




pressured to give false testimony that would implicate, among others, Mr. Azima.

       128.     On October 15, 2020, Mr. Azima filed his complaint against Defendants Vital and

Mr. Del Rosso in U.S. District Court for the Middle District of North Carolina. In the complaint

it was alleged, inter alia, that Defendant Dechert was involved in the hacking and hired, paid,

directed Defendants Mr. Del Rosso and Vital to hack Mr. Azima. The allegations included, but

were not limited to, that Defendants Vital and Mr. Del Rosso stole Mr. Azima’s computer data,

including emails which were then dumped online and used by the Defendants and their Cohorts in

an attempt to ruin Mr. Solomon and Mr. Azima’s reputations and damage them financially.

       129.     On January 7, 2022, Mr. Page filed his corrected witness statement with the

Business and Property Courts of England and Wales as part of the lawsuit commenced in 2016 by

RAK against Mr. Azima. Mr. Page’s corrected 2022 statement disclosed that he and Defendant

Mr. Gerrard conspired with others to fabricate testimony first at a meeting in Cyprus and later in

Switzerland to participate in a mock trial led by Defendant Mr. Gerrard to ensure the perjury would

withstand cross examination.

       130.     On February 2, 2022, Mr. Halabi submitted a corrected witness statement in which

he disclosed that the cover story he provided in his earlier witness statement, like Mr. Page’s, was

“concocted during a number of meetings which took place been 2017 and 2019 between

(variously),” Defendants Mr. Gerrard, Mr. Hughes, and Mr. Forlit, as well as non-defendant co-

conspirators Mr. Page and Mr. Buchanan. In pertinent part, both Mr. Halabi’s cover story and

details about the formation of the cover story align with Mr. Page’s accounts of each.

       131.     On February 7, 2022, Mr. Page submitted a third witness statement, in which he

discussed being asked by Defendants Mr. Gerrard and Mr. Handjani, at breakfast in early February

2020, to investigate who was funding Mr. Al Sadeq’s litigation against Defendant Dechert,



                                                46
              Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 47 of 70




Defendant Mr. Gerrard and others. Mr. Page, with Defendant Mr. Gerrard’s knowledge, retained

Defendant Mr. Forlit to employ hacking techniques to locate this information, and did locate such

information, which he shared with Mr. Page and which Mr. Page in turn shared with Defendants

Mr. Gerrard and Mr. Handjani.

       132.     The illegal, improper and unethical acts of the Defendants and/or their Cohorts, as

described herein, has produced sprawling litigation across multiple jurisdictions in the US and

abroad, involving the individuals identified herein and others, which continue to elicit new facts

about the breadth and score of the enterprise and conspiracy.

       133.     On May 16, 2022, the High Court of Justice Business and Property Courts of

England & Wales Commercial Court issued a judgment ruling that Defendant Mr. Gerrard was in

reckless and negligent breach of duty as counsel to ENRC, which alleged that Defendant Mr.

Gerrard’s misconduct, including the leaking of confidential information to the press, resulted in

legal fees to the Defendants Dechert and Mr. Gerrard of £13 million (even though they should

have been no more than £2 million) and additional unnecessary third-party fees of £11 million.

       134.     On July 15, 2022, the United States District Court for the Southern District of New

York granted Mr. Azima’s petition for discovery from Defendant Mr. Handjani (a close advisor to

the Ruler and a close ally of the Islamic Republic of Iran), seeking documents and communications

relating to Mr. Azima and to the Defendants and/or their Cohorts.

                           Dechert’s Responsibility and Involvement

       135.     As explained above, not only did at least two Dechert partners participate as

members of the Enterprise, but the firm was also itself a central figure in the enterprise, including

its conspiracy, crimes, and subsequent coverup. In addition to providing the resources and

infrastructure for the criminal conduct of Dechert partners Mr. Gerrard and Mr. Hughes, Dechert



                                                 47
                Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 48 of 70




also played an active and critical role in supporting, facilitating, and concealing the enterprise’s

misconduct.

         136.     Defendant Dechert, including partners in leadership positions, were aware of

Defendant Mr. Gerrard’s reputation before hiring him. In October 2010, then-Dechert partner

Graham Defries informed Defendant Dechert management, including its chairman, that Defendant

Mr. Gerrard engaged in unethical billing practices to increase client fee revenues.           Upon

information and belief, this assessment was based upon Mr. Defries’ firsthand observations.

Defendant Dechert nevertheless hired Defendant Mr. Gerrard as a Global Co-Head of the firm’s

White Collar and Securities Litigation practice and agreed to pay him £2 million in annual

compensation on the condition that he produce £12 million in annual fees.

         137.     In April 2013, however, one of Defendant Dechert’s largest clients fired Defendant

Mr. Gerrard and Defendant Dechert after discovering that they had engaged in what a UK court

later characterized as “shocking” betrayals of the client during the course of the representation.

The client’s firing of Defendants Mr. Gerrard and Dechert left Defendant Mr. Gerrard without a

major source of revenue (as he had depended on it for almost the entirety of his billings) thus

placing enormous pressure on Defendant Mr. Gerrard to find another deep-pocketed client he

could exploit to justify the outsized compensation package he had received from Defendant

Dechert. Notwithstanding this obvious red flag regarding Defendant Mr. Gerrard’s conduct,

Defendant Dechert continued to support Defendant Mr. Gerrard for approximately nine more

years.

         138.     By April 2014, Defendant Dechert received a sworn witness statement stating that

Defendant Mr. Gerrard had admitted to engaging in unethical billing practices when billing the

Defendant Dechert client referenced above. On information and belief, by February 2018,



                                                  48
              Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 49 of 70




Defendant Dechert came into possession of another witness statement recalling another such

admission by Defendant Mr. Gerrard. Notwithstanding these startling statements about Defendant

Mr. Gerrard and his billing practices, Defendant Dechert continued to support Defendant Mr.

Gerrard for approximately six more years.

       139.     By 2015, Defendant Dechert was aware of accusations that Defendant Mr. Gerrard

engaged in human rights abuses as part of his work. Mr. Al Sadeq had accused Defendants Mr.

Gerrard, Mr. Hughes, and another Dechert partner of interrogating him under degrading, filthy,

and illegal conditions in secret prisons in RAK. When Defendant Mr. Gerrard learned that Mr.

Azima was planning to publicize Mr. Gerrard’s human rights abuses, Defendant Mr. Gerrard

briefed Dechert’s leadership on the potential threat posed by Mr. Azima’s media campaign, which

directly implicated Defendant Mr. Gerrard in human rights abuses. Nevertheless, Defendant

Dechert continued to support Defendant Mr. Gerrard for approximately seven more years.

       140.     Since 2016, Defendant Dechert and partners within the firm’s leadership knew,

were willfully blind, or otherwise recklessly indifferent to repeated allegations and evidence that

Defendant Mr. Gerrard masterminded the hacking of Mr. Azima and suborned perjury before U.S.

and UK courts. At each opportunity to rein in potential wrongdoing by Defendant Mr. Gerrard,

Defendant Dechert instead actively defended him, and failed to expel him from the partnership.

       141.     In March 2017, Mr. Azima’s counsel told Defendant Dechert that Defendant

Dechert remained the only party able to obtain Mr. Azima’s hacked materials. Although this

information should have caused Defendant Dechert to investigate why Defendants Mr. Gerrard

and Mr. Hughes were the only ones who had access to supposedly publicly available documents –

which by then had been downloaded to Defendant Dechert servers – Defendant Dechert continued

to stonewall against allegations of misconduct by Defendant Mr. Gerrard and continued to permit



                                                49
              Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 50 of 70




Defendant Mr. Gerrard to manage related litigation.

       142.     In mid-2019, RAK removed Defendant Mr. Gerrard from its cases, but Defendant

Dechert continued with the representation and continued to push the false story that its client RAK

had innocently found Mr. Azima’s stolen documents on the internet. Even after Defendant Mr.

Gerrard was removed, the firm remained on the case, with other Defendant Dechert partners,

including Dechert Chairman Andrew Levander, taking a larger role in the representation. Though

Defendant Mr. Gerrard was removed from the representation, he continued to participate in the

enterprise’s affairs and cover-up campaign, including for example organizing the Swiss meetings

described above to perfect perjurious witness testimony.

       143.     In January 2020, during Mr. Azima’s First Trial, Defendant Mr. Gerrard falsely

denied any involvement or knowledge of the hacking of Mr. Azima or improper treatment of Mr.

Al Sadeq. Yet in June 2020, Defendant Mr. Gerrard recanted some of his false testimony

concerning the treatment of Mr. Al Sadeq. Defendant Dechert demonstrated reckless indifference

to the fact that Defendant Mr. Gerrard provided false testimony and continued to permit Defendant

Mr. Gerrard to testify.

       144.     Defendant Dechert also provided Defendant Mr. Gerrard with “burner phones” and

allowed him to repeatedly scrub the data from them. Remarkably, Defendant Dechert provided

Mr. Gerrard with at least 15 different mobile devices between 2014 and 2020, during the height of

the enterprise’s conspiracy to harm Mr. Azima and Mr. Solomon, and the subsequent cover-up.

Defendant Dechert did not preserve the data on many of these “burner” phones, even after the

phones were returned to the firm.

       145.     Even in those instances where Defendant Dechert did retain Defendant Mr.

Gerrard’s data, it was not produced as required in litigation. In July 2021, Dechert’s International



                                                50
               Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 51 of 70




General Counsel James Croock conceded that the firm committed a “significant omission” by

failing to disclose numerous text messages from 2011 through 2013 on Defendant Mr. Gerrard’s

mobile devices that showed Defendant Mr. Gerrard’s previous testimony was false.

        146.     According to press reports, even as the allegations around Defendant Mr. Gerrard

mounted, Mr. Croock (the firm’s now-retired former general counsel) “helped establish a ‘party

line’” that “Dechert and Mr. Gerrard were right.” Upon information and belief, firm management

sent emails to its partners indicating that Defendant Dechert had a strong case.

        147.     Despite more than a decade of red flags and clear indications that Defendant Mr.

Gerrard was engaging in unethical and illegal behavior, it was not until May 2022 that Defendant

Dechert half-heartedly condemned Defendant Mr. Gerrard’s conduct. Even then, Defendant

Dechert belatedly attempted to distance itself from Defendant Mr. Gerrard only following court

findings that Defendant Mr. Gerrard lied under oath.

        148.     Accordingly, Defendant Dechert is liable for the acts of its partners Defendants Mr.

Gerrard and Mr. Hughes, as well as the acts of their co-conspirators.

                                          COUNT I
                Civil RICO (Racketeer Influence and Corrupt Organizations Act)
                                     (18 U.S.C. §1964(c))

        149.     Plaintiff repeats, realleges and incorporates by reference those facts and allegations

set forth in all the foregoing paragraphs as if fully set forth herein.

        150.     As recounted above, the Defendants received income in the form of legal,

consulting and/or other fees directly and indirectly from a pattern of racketeering activity in the

operation of an enterprise engaged in interstate and foreign commerce.

        151.     Defendants Dechert and Mr. Gerrard directed the global racketeering enterprise

from the onset. The enterprise was initiated by agreement between on one side RAK, RAKIA



                                                   51
              Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 52 of 70




and/or the Ruler and on the other side, Defendants Dechert and Mr. Gerrard. This agreement was

purportedly for the performance of legal services to investigate allegations of fraudulent activities

within RAKIA performed by Mr. Massaad and Mr. Azima, however, the actions of Defendants

Dechert and Mr. Gerrard, repeatedly and continually showed that their mission was to generate

evidence of such alleged fraud by any means necessary, legal or otherwise, notwithstanding the

fact that its client was allegedly selling properties to the Islamic Republic of Iran thereby allowing

the Iranian regime to evade sanctions imposed by the United States and others. Members of the

enterprise and/or their co-conspirators and their Cohorts, including but not limited to Defendants

Dechert, Mr. Gerrard and Mr. Hughes, and non-defendants Ms. Black, RAK, RAKIA, the Ruler

and/or other affiliates, attempted to generate such false evidence by reportedly kidnapping at least

two potential witnesses, allegedly stealing their possessions and extorting those witnesses to

produce false testimony under the threats against their families.

       152.     To control the behavior of the witnesses and their families, the enterprise hacked or

caused to be hacked the email accounts of family members and later the lawyers of the kidnapped

witnesses. As Mr. Azima learned of the kidnappings and later threatened to report the nefarious

conduct of the enterprise led by Defendants Dechert and Mr. Gerrard to the authorities in the

United States and to Mr. Solomon of the Wall Street Journal, the Defendants and/or their Cohorts

committed more wire fraud by illegally hacking into the email accounts of Mr. Azima and using

and disclosing the stolen emails to discredit and attempt to silence Mr. Azima and his associates,

including in particular Mr. Solomon.

       153.     The illegal wire fraud and hacking operation directed by Defendants Dechert and

Mr. Gerrard and conducted by the other Defendants who were all collectively members of the

enterprise and conspiracy that proximately and directly caused Mr. Solomon to lose his job as a



                                                 52
               Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 53 of 70




reporter for the Wall Street Journal, as the Defendants and/or their Cohorts used and disclosed

Mr. Azima’s stolen email communications with Mr. Solomon: first to Mr. Solomon’s employer

Dow Jones and second to other members of the press. The enterprise then engaged in further

witness tampering and obstruction of justice by conducting several private meetings at which the

enterprise members conspired and coordinated false testimony as to fraudulently conceal how the

Defendants and/or their Cohorts came into possession of the stolen communications. Enterprise

members, including Defendant Mr. Gerrard, proceeded to give the coordinated false testimony

before England’s High Court as well as this court. This perjurious testimony concealed the

Defendants’ roles in directing and/or conducting the illegal hacking operations, such that it could

not be proven by reasonable due diligence performed by Mr. Solomon, until January 7, 2022 when

Mr. Page filed a second witness statement revealing that his prior testimony was falsified in

coordination with the other Defendant and non-defendant members of the enterprise at the

direction of Defendants Dechert and Mr. Gerrard.

        154.     The Defendants have engaged in repeated acts of money laundering in furtherance

of and to promote the unlawful objectives and activities of the enterprise. Members of the

enterprise knowingly caused the transportation, transmission, and/or transfer of funds to or from

the United States to themselves and other co-conspirators to promote unlawful activity including,

but not limited to the funds described herein, and as described in Exhibit A to the Complaint in the

matter Azima et al. v. Dechert LLP, et al. (C.A. 22-cv-8729, SDNY) (D.E. 1-1).

        155.     The global racketeering enterprise that the Defendants participated in engaged in

or facilitated illegal activities that included, inter alia, sanctions evasion, money laundering, fraud,

human rights abuses, kidnappings, torture, robbery, theft, conversion, extortion, obstruction of




                                                  53
              Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 54 of 70




justice, witness tampering, illegal hacking operations, wire fraud, fraud in connection with access

devices, and attacks against free press.

       156.     The illegal activities engaged in by the racketeering enterprise occurred in, involved

and/or impacted countries across the world including, but not limited to, the United States of

America, the Islamic Republic of Iran, The United Arab Emirates, the United Kingdom, the

Republic of Georgia, Israel, India, Switzerland, and the Republic of Cyprus.

       157.     In carrying out its racketeering activity, the Defendants conspired with each other

as well as other public officials and private actors.

       158.     The plaintiff Mr. Solomon was injured in his business and property by reason of a

violation of 28 U.S.C. §1962, as the Defendants willfully acted and conspired to have Mr.

Solomon’s employment with the Wall Street Journal as a reporter terminated in furtherance of and

in covering up its participation in acts and threats of kidnapping, robbery, extortion, wire fraud,

fraud in connection with access devices, obstruction of justice and witness tampering, each of

which are defined as racketeering activity and predicate offenses under 28 U.S.C. §1961(1).

       159.     The Defendants conspired and aided and abetted in a pattern of acts of kidnapping

through its role in RAKIA’s illegal, forceful taking of Mr. Al Sadeq from his home against his will

in violation of his rights, without lawful authority, confining him to a controlled space, isolated for

an illegal purpose of obstructing justice through the securing of their false confessions and false

testimony to wrongly implicate others in crimes.

       160.     Defendants Dechert, Mr. Hughes and Mr. Gerrard engaged in and conspired to

engage in a pattern of threats and acts of extortion, by obtaining or attempting to obtain false

confessions and false testimony from Mr. Al Sadeq through threats against his liberties and his




                                                  54
              Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 55 of 70




family. The false testimony was a thing of value in that it affected the legal rights surrounding

property and claims to power.

       161.     Defendants Dechert, Mr. Hughes and Mr. Gerrard engaged in and conspired to

engage in a pattern of threats and acts of obstruction of justice, by corruptly and by threats and

force, influencing, obstructing, and impeding, and endeavoring to influence, obstruct, and impede,

the due administration of justice by obtaining and attempting to obtain false confessions and false

testimony from Mr. Al Sadeq through threats against his liberties and his family.

       162.     Defendants engaged in and conspired to engage in a pattern of threats and acts of

obstruction of justice, by corruptly influencing, obstructing, and impeding, and endeavoring to

influence, obstruct, and impede, the due administration of justice by coordinating acts of perjury

with others including Mr. Page, Mr. Halabi, and Mr. Buchanan in the context of RAKIA’s lawsuit

against Mr. Azima.

       163.     Defendants Dechert, Mr. Hughes and Mr. Gerrard engaged in and conspired to

engage in a pattern of threats and acts of witness tampering, by using threats of physical force

against both Mr. Al Sadeq with the intent to influence the testimony of him in an official

proceeding.

       164.     Defendants Dechert, Mr. Hughes and Mr. Gerrard performed each of these acts of

racketeering in exchange for significant compensation falsely designated as payment for legal

services.

       165.     In furtherance of each of these acts, Defendants engaged in additional acts to evade

the scrutiny of the free press, by inter alia, seeking to prevent journalists with sources aware of

Defendants Dechert, Mr. Hughes and Mr. Gerrard’s human rights abuses and racketeering

activities from publishing on those activities, by attacking the reporter-source relationships and



                                                 55
               Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 56 of 70




interfering with journalists’ employment at their outlets. Plaintiff Mr. Solomon was one of those

journalists, and he lost his job as a reporter for the Wall Street Journal at the hands of the

Defendants and/or their Cohorts, when Defendants Dechert and Mr. Gerrard arranged with

Defendants Mr. Del Rosso and Mr. Forlit for the illegal hacking of the emails of Mr. Solomon’s

source Mr. Azima, obtained emails stolen from Mr. Azima’s account by said hacking, and

presented or caused to be presented the stolen emails to Mr. Solomon’s employer and other

members of the press which framed Mr. Solomon for alleged violation of journalism ethics, in

which he did not engage. As a result of the Defendants’ collective efforts and acts, Mr. Solomon’s

employment with the Wall Street Journal was terminated without cause, to his economic and

reputational detriment and causing him severe emotional harm and damages to his property and

business.

        166.     WHEREFORE, the Plaintiff demands that judgment be entered against the

Defendants, jointly and severally, for the pain, suffering, mental anguish, emotional distress, and

financial or economic loss in amounts to be proven, trebled, and for his costs expended, including

attorneys’ fees, and for an award of compensatory and punitive damages and otherwise as

permitted by applicable law.

                                         COUNT II
      Disclosure of Wire, Oral, or Electronic Communications under the Wiretap Act
                            (18 U.S.C. §§ 2511(1)(c) and 2520)
                                    (Primary Liability)


        167.     Plaintiff repeats, realleges and incorporates by reference those facts and allegations

set forth in all the foregoing paragraphs as if fully set forth herein.

        168.     In violation of 18 U.S.C. § 2511(1)(c), Defendants intentionally used and disclosed

wire and electronic communications between Mr. Azima and Mr. Solomon knowing and/or having



                                                   56
              Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 57 of 70




reason to know that the information was improperly and illegally obtained through interception.

       169.     Defendants Dechert and Mr. Gerrard used CyberRoot (via Defendants Mr. Del

Rosso and Vital) to hack Mr. Azima’s emails and to intentionally disclose large quantities of Mr.

Azima’s intercepted data, which included communications with Mr. Solomon, by instructing that

the data be posted on BitTorrent and WeTransfer. Links to those BitTorrent and WeTransfer sites

were added to the blog sites that CyberRoot created. CyberRoot worked with BellTroX and at the

direction of the Defendants to conduct the hacking and post the intercepted data. The BitTorrent

and WeTransfer sites were posted by users named anjames and an_james, which are usernames

associated    with   Sharma   at   CyberRoot.   CyberRoot    also   used   the   email   account

an_james@protonmail.ch to create these blog sites and upload Mr. Azima and Mr. Solomon’s

stolen communications. The links were updated as recently as 2019. The willful disclosure and

use by the Defendants of the intercepted communications caused Mr. Solomon significant harm.

       170.     Defendants and/or their Cohorts further intentionally used and disclosed large

quantities of Mr. Solomon’s communications to his employer Dow Jones as well as to other

members of the press knowing that the information was obtained through the interception of Mr.

Azima’s wire and electronic communications. This was done for the purpose of interfering with

and seeking to cause the termination of Mr. Solomon’s employment, which it did.

       171.     Defendants Dechert, Mr. Gerrard, Mr. Del Rosso, and Vital caused CyberRoot and

others to hack Mr. Azima’s computers and email accounts. The hack gave CyberRoot persistent

access to Mr. Azima’s computers and email accounts, including his communications with Mr.

Solomon.

       172.     Defendants Dechert and Mr. Gerrard knew that the information published on the

BitTorrent and WeTransfer sites was obtained through interception because Defendants Dechert



                                                57
               Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 58 of 70




and Mr. Gerrard paid more than $1 million to Defendants Mr. Del Rosso and Vital, which in turn

paid CyberRoot and others to conduct the hacking operation, to intercept Mr. Azima’s data and to

publish the stolen data, including Mr. Azima’s private conversations with Mr. Solomon.

Defendants Dechert and Mr. Gerrard also knew or had reason to know that the information was

obtained through interception because, among other reasons discussed above, it included large

quantities of privileged, private, financially sensitive and trade secrets data, including private email

communications, banking documentation, and business plans, including confidential internal

pricing lists relating to food transport for U.S. troops in Afghanistan.

        173.     As a result of the disclosure to the Wall Street Journal and others of Mr. Azima’s

private electronic and wire communications with Mr. Solomon, Mr. Solomon suffered damages to

his business and property. The disclosure of Mr. Solomon’s communications first to Dow Jones

and later to members of the press, directly and proximately caused Mr. Solomon to lose his

prestigious employment as a reporter for the Wall Street Journal, causing immediate loss of

income and reputational damage, resulting in additional damages in the form of inter alia lost

awards, book publishing deals and speaking engagements drawing from Mr. Solomon’s status and

credibility as a Wall Street Journal reporter. Mr. Solomon cannot replicate these opportunities in

quantity and magnitude, even through other employment.

        174.     Additionally, since at least June 2018, the stolen data, including Mr. Solomon’s

wire and electronic communications with Mr. Azima, has continued to be publicly available on

WeTransfer through links that were posted to the blog sites created by CyberRoot, resulting in

more than $75,000 of statutory damages under 18 U.S.C. § 2520(c)(2)(B), and further monetary

damages in an amount to be proven at trial.

        175.     Upon information and belief, Defendants have made significant profits from their



                                                  58
               Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 59 of 70




conspiratorial conduct and the resultant disclosure of Mr. Solomon’s communications, having been

paid large sums of money in the form of legal, consulting and other fees to hack and dump Mr.

Azima’s communications with Mr. Solomon. As a result of the continued disclosure of Mr.

Solomon’s stolen communications, Mr. Solomon has suffered, and will continue to suffer,

irreparable harm to his person, reputation, business and property, and community standing.

        176.     WHEREFORE, the Plaintiff demands that judgment be entered against the

Defendants, jointly and severally, for the pain, suffering, mental anguish, emotional distress, and

financial or economic loss in amounts to be proven, trebled, and for his costs expended, including

attorneys’ fees, and for an award of compensatory and punitive damages and otherwise as

permitted by applicable law.

                                        COUNT III
   Use of Intercepted Wire, Oral, or Electronic Communications under the Wiretap Act
                            (18 U.S.C. §§ 2511(1)(d) and 2520)


        177.     Plaintiff repeats, realleges and incorporates by reference those facts and allegations

set forth in all the foregoing paragraphs as if fully set forth herein.

        178.     Defendants Dechert, Mr. Gerrard, Mr. Del Rosso, and Vital willfully, intentionally,

and knowingly agreed and conspired with CyberRoot, Mr. Page, and others to use Mr. Solomon’s

intercepted communications in violation of 18 U.S.C. §§ 2511 and 2520. Among other things,

Defendants Dechert and Mr. Gerrard agreed and conspired to intercept Mr. Azima’s data resulting

in the hackers obtaining persistent access to Mr. Azima’s computers and email accounts.

Defendants Dechert and Mr. Gerrard paid more than $1 million for the interception of Mr. Azima’s

data. Defendants Dechert and Mr. Gerrard also used and conspired to use the intercepted data by

instructing CyberRoot to publish the data on blog sites that were created by CyberRoot. CyberRoot

used BitTorrent and WeTransfer to effectively disclose the stolen data to Defendants Dechert, Mr.

                                                   59
              Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 60 of 70




Gerrard, Mr. Forlit, Insight and SDC-Gadot as well as other co-conspirators.

       179.     The BitTorrent and WeTransfer links were posted by users named anjames and

an_james, which are usernames associated with Sharma at CyberRoot. Defendants also used the

email account an_james@protonmail.ch to create these blog sites and upload Mr. Solomon’s stolen

wire and electronic communications.

       180.     Defendants, with full knowledge that they were engaged in wrongful actions, took

steps in furtherance of the conspiracy, including paying more than $1 million to companies and/or

contractors that conducted the hacking and accessing of the data, and later covering up the hacking

through a story that the English court found to be false.

       181.     Defendants further intentionally use and conspired to wrongfully use large

quantities of Mr. Solomon’s communications by transmitting the communications directly or

indirectly to his employer Dow Jones as well as to other members of the press knowing that the

information was obtained through the interception of Mr. Azima’s wire and electronic

communications. Defendants intentionally further used and conspired to use the large quantities

of Mr. Solomon’s communications for the purpose of interfering with and seeking to cause the

termination of Mr. Solomon’s employment relationship, which occurred as a result of the

implementation of the Defendants’ plan.

       182.     Mr. Solomon has been injured and has suffered monetary damages as a result of

Defendants’ actions in an amount to be proven at trial. As a result of the Defendants’ use and

conspiracy to use Mr. Azima’s intercepted data, specifically those communications with Plaintiff

Mr. Solomon, Plaintiff has suffered, and will continue to suffer, irreparable harm to his person,

reputation, business and property, and community standing.

       183.     WHEREFORE, the Plaintiff demands that judgment be entered against the



                                                 60
               Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 61 of 70




Defendants, jointly and severally, for the pain, suffering, mental anguish, emotional distress, and

financial or economic loss in amounts to be proven, trebled, and for his costs expended, including

attorneys’ fees, and for an award of compensatory and punitive damages and otherwise as

permitted by applicable law.

                                          COUNT IV
                  Disclosure of Wire or Oral Communications under DC Wiretap Act
                                 (DC Code §§23-542(a)(2) and 23-554)


        184.     Plaintiff repeats, realleges and incorporates by reference those facts and allegations

set forth in all the foregoing paragraphs as if fully set forth herein.

        185.     In violation of DC Code §23-542(a)(2) and giving rise to civil liability pursuant to

DC Code §23-554, Defendants and/or their Cohorts willfully disclosed, to Mr. Solomon’s

employer and others, wire communications between Mr. Azima and Mr. Solomon knowing and/or

having reason to know that the information was improperly and illegally obtained through

interception.

        186.     Defendants Dechert, Mr. Gerrard, Mr. Del Rosso and Vital directed CyberRoot to

hack Mr. Azima’s emails and to intentionally disclose large quantities of Mr. Azima’s intercepted

data, which included communications with Mr. Solomon, by instructing that the data be posted on

BitTorrent and WeTransfer to be accessed by Defendants Forlit, Insight and SDC-Global. Links

to those BitTorrent and WeTransfer sites were added to the blog sites that CyberRoot created.

CyberRoot worked with BellTroX and at the direction of the Defendants to conduct the hacking

and post the intercepted data. The BitTorrent and WeTransfer sites were posted by users named

anjames and an_james, which are usernames associated with Sharma at CyberRoot. CyberRoot

also used the email account an_james@protonmail.ch to create these blog sites and upload Mr.

Azima and Mr. Solomon’s stolen communications. The links were updated as recently as 2019.

                                                   61
              Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 62 of 70




       187.     Defendants and/or their Cohorts further intentionally disclosed large quantities of

Mr. Solomon’s communications to his employer Dow Jones as well as to other members of the

press knowing that the information was obtained through the interception of Mr. Azima’s wire

communications. This was done for the purpose of interfering with and seeking to cause the

termination of Mr. Solomon’s employment, which it did.

       188.     Defendants Dechert, Mr. Gerrard, Mr. Del Rosso, and Vital caused CyberRoot to

hack Mr. Azima’s computers and email accounts. The hack gave CyberRoot persistent access to

Mr. Azima’s computers and email accounts, including his communications with Mr. Solomon.

       189.     Defendants Dechert and Mr. Gerrard knew that the information published on the

BitTorrent and WeTransfer sites was obtained through interception because Defendants Dechert

and Mr. Gerrard paid more than $1 million to Defendants Mr. Del Rosso and Vital, which in turn

paid CyberRoot to conduct the hacking operation, to intercept Mr. Azima’s data and to publish the

stolen data, including Mr. Azima’s private conversations with Mr. Solomon, to be knowingly

accessed by Defendants Forlit, Insight and SDC-Global. The Defendants also knew or had reason

to know that the information was obtained through interception because, among other reasons

discussed above, it included large quantities of privileged, private, financially sensitive and trade

secrets data, including private email communications, banking documentation, and business plans,

including confidential internal pricing lists relating to food transport for U.S. troops in

Afghanistan.

       190.     As a result of the disclosure to the Wall Street Journal and others of Mr. Azima’s

private wire communications with Mr. Solomon, Mr. Solomon suffered damages. The disclosure

of Mr. Solomon’s communications first to Dow Jones and later to members of the press, directly

and proximately caused Mr. Solomon to lose his prestigious employment as a reporter for the Wall



                                                 62
               Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 63 of 70




Street Journal, causing immediate loss of income and reputational damage, resulting in additional

damages in the form of inter alia lost awards, book publishing deals and speaking engagements

drawing from Mr. Solomon’s status and credibility as a Wall Street Journal reporter. Mr. Solomon

cannot replicate these opportunities in quantity and magnitude, even through other employment.

        191.     Additionally, since at least June 2018, the stolen data, including Mr. Solomon’s

wire communications with Mr. Azima, has continued to be publicly available on WeTransfer

through links that were posted to the blog sites created by CyberRoot, resulting in monetary

damages in an amount to be proven at trial.

        192.     Upon information and belief, Defendants have made significant profits from their

conspiratorial conduct and the resultant disclosure of Mr. Solomon’s communications, having been

paid large sums of money in the form of legal, consulting and other fees to hack and dump Mr.

Azima’s communications with Mr. Solomon. As a result of the continued disclosure of Mr.

Solomon’s stolen communications, Mr. Solomon has suffered, and will continue to suffer,

irreparable harm to his person, reputation, business, and community standing.

        193.     WHEREFORE, the Plaintiff demands that judgment be entered against the

Defendants, jointly and severally, for the pain, suffering, mental anguish, emotional distress, and

financial or economic loss in amounts to be proven, trebled, and for his costs expended, including

attorneys’ fees, and for an award of compensatory and punitive damages and otherwise as

permitted by applicable law.

                                        COUNT V
   Use of Intercepted Wire, Oral, or Electronic Communications under the Wiretap Act
                          (DC Code §§23-542(a)(3) and 23-554)


        194.     Plaintiff repeats, realleges and incorporates by reference those facts and allegations

set forth in all the foregoing paragraphs as if fully set forth herein.

                                                   63
              Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 64 of 70




       195.     Defendants willfully, intentionally, and knowingly agreed and conspired with

CyberRoot, Mr. Page, and others to use Mr. Solomon’s intercepted communications in violation

of DC Code §23-542(a)(3) and giving rise to civil liability pursuant to DC Code §23-554. Among

other things, Defendants agreed and conspired to intercept Mr. Azima’s data resulting in the

hackers obtaining persistent access to Mr. Azima’s computers and email accounts. Defendants

paid and/or received more than $1 million for the interception of Mr. Azima’s data. Defendants

also used and conspired to use the intercepted data by instructing CyberRoot to publish the data

on blog sites that were created by CyberRoot. CyberRoot used BitTorrent and WeTransfer to send

the stolen data to Defendants and/or their Cohorts.

       196.     The BitTorrent and WeTransfer links were posted by users named anjames and

an_james, which are usernames associated with Sharma at CyberRoot. Defendants also used the

email account an_james@protonmail.ch to create these blog sites and upload Mr. Solomon’s stolen

wire and electronic communications.

       197.     Defendants with full knowledge that they were engaged in wrongful actions, took

steps in furtherance of the conspiracy, including paying more than $1 million to the company that

conducted the hacking, and later covering up the hacking through a story that the English court

found to be false.

       198.     Defendants further willfully used and conspired to wrongfully use large quantities

of Mr. Solomon’s communications by transmitting them to his employer Dow Jones as well as to

other members of the press knowing that the information was obtained through the interception of

Mr. Azima’s wire communications. Defendants intentionally further used and conspired to use

the large quantities of Mr. Solomon’s communications for the purpose of interfering with and

seeking to cause the termination of Mr. Solomon’s employment relationship, which occurred as a



                                                64
               Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 65 of 70




result of the implementation of the Defendants’ plan.

        199.     Mr. Solomon has been injured and has suffered monetary damages as a result of

Defendants’ conspiratorial actions in an amount to be proven at trial. As a result of the Defendants’

use and conspiracy to use Mr. Azima’s intercepted data, specifically those communications with

Plaintiff Mr. Solomon, Plaintiff has suffered, and will continue to suffer, irreparable harm to his

person, reputation, business and property, and community standing.

        200.     WHEREFORE, the Plaintiff demands that judgment be entered against the

Defendants, jointly and severally, for the pain, suffering, mental anguish, emotional distress, and

financial or economic loss in amounts to be proven, trebled, and for his costs expended, including

attorneys’ fees, and for an award of compensatory and punitive damages and otherwise as

permitted by applicable law.

                                           COUNT VI
                        Tortious Interference with Business Relationships


        201.     Plaintiff repeats, realleges and incorporates by reference those facts and allegations

set forth in all the foregoing paragraphs as if fully set forth herein.

        202.     Mr. Solomon was employed by the Wall Street Journal pursuant to his then existing

and valid employment agreement with Dow Jones.

        203.     Defendants had knowledge and was aware that Mr. Solomon was employed by the

Wall Street Journal, as Defendant Mr. Gerrard testified to the fact that in the summer of 2016 Mr.

Azima had advised him about his relationship with Mr. Solomon, as well as Mr. Solomon’s job

and place of employment.

        204.     Defendants intentionally and improperly interfered with Mr. Solomon’s

employment relationship with Dow Jones, as part of its effort to silence Mr. Solomon and his



                                                   65
                 Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 66 of 70




source Mr. Azima, who was knowledgeable about Defendants’ illegal conduct, racketeering

activities and contributions to human rights abuses, who had threatened to report them to Mr.

Solomon, an esteemed reporter at a major newspaper of global circulation who had a reputation

for breaking news on similarly high profile matters arising out of the Middle East as set forth

herein.

          205.     Defendants’ improper intentional interference consisted of the following but not

limited to acts: (1) engaging several firms to hack, dump and retrieve Mr. Azima’s email account;

(2) delivering or causing to deliver a dossier of stolen emails to Mr. Solomon’s employer and other

media outlets that painted an unfair and wrong impression of Mr. Solomon and Mr. Azima’s

relationship; (3) after Mr. Solomon’s employer investigated the emails and chose not to terminate

his employment relationship, delivering or causing to be delivered the same dossier of stolen

emails to several media outlets, which resulted in the publication of the stolen emails and forced

Mr. Solomon’s employer to terminate his employment relationship in a public and humiliating

manner; and (4) engaging in a conspiracy to commit perjury and cause others to commit perjury

in such a manner as to conceal and cover-up Defendants’ involvement in the hacking of Mr.

Azima’s email account.

          206.     As a result of Defendants’ interference, and as a foreseeable consequence thereof,

Mr. Solomon was terminated from his job at Dow Jones in a public and humiliating manner, cause

Mr. Solomon significant damage in the forms of, inter alia, economic injury, lost employment,

damaged reputation, forgone opportunities to build on his reputation such as prestigious job

opportunities, high value speaking engagements and book publishing deals that would have

otherwise been available to him, public humiliation, emotional distress, mental grieving, pain and

suffering.



                                                   66
               Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 67 of 70




        207.     WHEREFORE, the Plaintiff demands that judgment be entered against the

Defendants, jointly and severally, for the pain, suffering, mental anguish, emotional distress, and

financial or economic loss in amounts to be proven, trebled, and for his costs expended, including

attorneys’ fees, and for an award of compensatory and punitive damages and otherwise as

permitted by applicable law.

                                            COUNT VII
                                          Civil Conspiracy


        208.     Plaintiff repeats, realleges and incorporates by reference those facts and allegations

set forth in all the foregoing paragraphs as if fully set forth herein.

        209.     Defendants entered into agreements with each other and several other intelligence

or hacking firms including BellTroX, and CyberRoot (as well as the several other entities and

persons mentioned in this complaint or who may be later discovered) to engage in a scheme to

hack into Mr. Azima’s email accounts, for the purpose of using the stolen emails as a means of

silencing Mr. Azima, who was knowledgeable about Defendants’ illegal conduct, racketeering

activities and contributions to human rights abuses, and had threated to report them to Mr.

Solomon, an esteemed reporter at a major newspaper of global circulation who had a reputation

for breaking news on similarly high profile matters arising out of the Middle East.

        210.     The type of hacking operation that Defendants commissioned for the purpose of

silencing Mr. Azima is illegal under several applicable federal and state, criminal and civil laws,

including but not limited to the Computer Fraud and Abuse Act, 18 U.S.C. § 1030, which prohibits

accessing a computer without or in excess of authorization.

        211.     An injury to Mr. Solomon was caused by an overt act of Defendants and/or their

Cohorts in the illegal taking of emails from Mr. Azima and using them in the manner described



                                                   67
                Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 68 of 70




herein to cause Mr. Solomon to lose his job, and suffer damages that include inter alia, economic

injury, lost employment, damaged reputation, forgone opportunities to build on his reputation such

as prestigious job opportunities, high value speaking engagements and book publishing deals that

would have otherwise been available to him, public humiliation, emotional distress, mental

grieving, pain and suffering.

         212.     This overt act was done pursuant to and in furtherance of the common scheme to

silence, Mr. Solomon and his source Mr. Azima.

         213.     WHEREFORE, the Plaintiff demands that judgment be entered against the

Defendants, jointly and severally, for the pain, suffering, mental anguish, emotional distress, and

financial or economic loss in amounts to be proven, trebled, and for his costs expended, including

attorneys’ fees, and for an award of compensatory and punitive damages and otherwise as

permitted by applicable law.

                                            COUNT VIII
                                          Punitive damages
                                          18 U.S.C. §1964(c)

         214.     Plaintiff repeats, realleges and incorporates by reference those facts and allegations

set forth in all the foregoing paragraphs as if fully set forth herein.

         215.     Defendants engaged in grossly improper conduct including but not limited to fraud,

wantonness, malicious and/or willful disregard for Mr. Solomon in furtherance of the illegal

scheme, design, enterprise and conspiracy and other acts as set forth in this Complaint, thereby

entitling the Plaintiff to an award of punitive damages in such amount as shall be determined at

trial.

         216.     Mr. Solomon has been grossly injured as a result of the conspiratorial and other

conduct of the Defendants and is entitled to punitive damages as a result thereof.



                                                   68
              Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 69 of 70




       217.     WHEREFORE, the Plaintiff demands that judgment be entered against the

Defendants, jointly and severally, for the pain, suffering, mental anguish, emotional distress, and

financial or economic loss in amounts to be proven, trebled, and for his costs expended, including

attorneys’ fees, and for an award of compensatory and punitive damages and otherwise as

permitted by applicable law.

                                      PRAYER FOR RELIEF

       218.     WHEREFORE, Plaintiff requests this Court find the Defendants, jointly and

severally, liable for the Causes of Actions listed above and enter Judgment against the Defendants

as follows:

       219.     Awarding Plaintiff compensatory damages against the Defendants, jointly and

severally, for the actions described in this Complaint in amounts as shall be determined at trial in

accordance with evidence to be submitted to this Court;

       220.     Awarding Plaintiff punitive or exemplary damages against Defendants, jointly and

severally, in amounts consistent with evidence as shall be determined at trial in accordance with

evidence to be submitted to this Court;

       221.     Awarding Plaintiff post judgment interest as computed and calculated at the

maximum rate allowable by law;

       222.     Awarding Plaintiffs their costs and disbursements and reasonable allowances of

reasonable fees for Plaintiffs’ counsel and experts and reimbursement of expenses;

       223.     Leave to amend this Complaint as the interests of justice may allow; and

       224.     For trial by jury on all issues so triable; and

       225.     Granting any and all such further relief as the Court may deem just and proper.

Dated: October 14, 2022


                                                   69
Case 1:22-cv-03137 Document 1 Filed 10/14/22 Page 70 of 70




                          Respectfully submitted,

                          HEIDEMAN NUDELMAN & KALIK, P.C.
                          5335 Wisconsin Ave., Suite 440
                          Washington, DC 20015
                          (202) 463-1818

                          By: /s/Richard D. Heideman___________________
                              Richard D. Heideman (DC Bar No. 377462)
                              Tracy Reichman Kalik (DC Bar No. 462055)
                              Joseph H. Tipograph (DC Bar No. 997533)




                            70
